                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                      Page 1 of 60
                                               Summary Exhibit 2 (Amended)
                      SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                  FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates     Time Frame Division / Location Evidence                                                           Source
Acquaye, Nii-Akwei        2000    SPEC FOOD           353: 10 A My previous supervisor Michael Wille when he was         353
Plaintiff                         Minnetonka, MN         11    leaving and around the time -- I don't recall when
                                                         12    exactly that was, but around the time he wrote the
05/02/97 - 03/00/02                                      13    recommendation letter for me encouraged me to
                                                         14    leave as well.
                                                         15          So I asked him why and he said, "Look
                                                         16    around." He said, "Look at senior management. Do
                                                         17    you see anybody like you in senior management?"
                                                         18    And he said, "This company is not a place for
                                                         19    African Americans." So that is what I understand
                                                         20    to mean by your question.

Arnold, Roderick         During   Corn Milling        225: 7 . . . What I want to do is find out                         225-26
Plaintiff              Employment Minnetonka, MN         8 everything that might have been said by senior
                                                         9 executives that is racially biased, whether you
11/05/79 - present                                      10 heard it personally or whether you heard it
                                                        11 through these other means?
                                                        12 A. And the answer to that question is yes.
                                                        13 Q. Okay. Can you tell me about it.
                                                        14 A. I think it refers to a conversation from one of
                                                        15 the CEOs in that he wanted to promote or he
                                                        16 wanted to recruit employees who were just like
                                                        17 me.
                                                        ***
                                                        25 Q. Which CEO?
                                                      226: 1 A. I can't remember the exact name.
                                                         2 Q. Sounds like?
                                                         3 A. I want to -- yeah. I want to say it was
                                                         4 Mr. MacMillan, but I'm not sure that that is --




                                                                Page 1 of 19
                     Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                     Page 2 of 60
                                              Summary Exhibit 2 (Amended)
                     SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                 FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                          Source
Arnold, Roderick      1993-1996 Admin                179:21 Q. Okay. I don't know if I asked you if, during            179-80
Plaintiff                        Cedar Rapids, IA       22 the time you were in Cedar Rapids -- if you
                                                        23 believed Mr. Erdman did anything that was
11/05/79 - present                                      24 racially discriminatory?
                                                        25 A. The management team used to have a number of
                                                     180: 1 team-building sessions, i.e. social
                                                        2 get-togethers and -- and/or parties. I think my
                                                        3 wife and I were invited to a grand total of two.
                                                        4 And those were kind of Christmas type
                                                        5 celebrations. I would be a part of the senior
                                                        6 management team. I was always in -- in the
                                                        7 senior management meetings where people would --
                                                        ***
                                                        9    . . . [t]alk about the get-together and, you know,
                                                        10 when's the next one. And I can remember in
                                                        11 several of those meetings Mr. Erdman looking at
                                                        12 me and saying oh, yeah, Rod, I'm going to have
                                                        13 to remember to invite you to the next one. But
                                                        14 we were never included in those particular types
                                                        15 of meetings or gatherings.

Arnold, Roderick       1996-2000   Corn Milling       219:21 A. . . . If we're talking about the period                219
Plaintiff                          Minnetonka, MN       22 of time between 1996 and 2000, I experienced a
                                                        23 great deal of isolation. Or there were actually
11/05/79 - present                                      24 situations of exclusion. So, as an example,
                                                        25 every morning Dale Cox would gather other
                                                      220: 1 individuals that worked for him -- Richard
                                                        2 Dolski, Jim Kelly, Jeff Greavu, Keith O'Malley,
                                                        3 as an example; all white males. And they would
                                                        4 go to get coffee and doughnuts. And as they
                                                        5 proceeded there they would talk business. The
                                                        6 only time I would go is if I would get up and
                                                        7 invite myself or if Dale Cox wasn't going, then
                                                        8 one of the other individual gentlemen would say
                                                        9 Rob [sic], why don't we go to -- go on our coffee run.
                                                        10 So that's -- that's one good example I can -- I
                                                        11 can think of.




                                                                Page 2 of 19
                     Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 3 of 60
                                              Summary Exhibit 2 (Amended)
                     SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                 FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                Source
Arnold, Roderick      1996 forward Corn Milling      220:18 A. . . . Well, [there] were similar                              220-21
Plaintiff                          Minnetonka, MN       19 gatherings, as well, in -- in Minneapolis to
                                                        20 which either I didn't qualify for or they just
11/05/79 - present                                      21 forgot to invite me.
                                                        22 Q. How do you know?
                                                        23 A. Again, just -- just in hearing people talk about
                                                        24 the gathering from the weekend before, just in
                                                        25 the office talk I knew of those particular
                                                     221: 1 gatherings.
                                                        2 Q. As you heard this office talk what indicated
                                                        3 that those gatherings were business-related as
                                                        4 opposed to purely social and not work-related?
                                                        5 A. Again, just the fact that I'm -- I'm sure it was
                                                        6 a mixture of both because Cargill employees, as
                                                        7 well as their spouses, were in attendance. So
                                                        8 it had to be some socializing, as well. But
                                                        9 just the fact that it was exclusively Cargill
                                                        10 employees, not the neighbor next door or two --
                                                        11 two doors down -- at least no one ever mentioned
                                                        12 that the neighbor was in attendance.

Brown, Toya              2000      NAGOC               209:21 The fifth [interview] question that's noted, "When you walk in a 209-10
Plaintiff0                         Houston, TX           22 room or convention in Texas is there a certain type
                                                         23 of person you would expect to be representing
3/17/97 - 03/31/01                                       24 Cargill," again do you view that as a discriminatory
                                                         25 question?
                                                       210: 1 A. Yes.
                                                         2 Q. And why do you feel that question --
                                                         3 A. Because all of these questions, along with
                                                         4 the one you just mentioned, are implying that Cargill
                                                         5 has a certain type of person that represents them, a
                                                         6 typical type of person that's represents them, so
                                                         7 when he's asking as a stranger when you walk in a
                                                         8 room or convention in Texas is there a certain type
                                                         9 of person you would expect to see representing
                                                         10 Cargill, it's implying that there is a Cargill type,
                                                         11 certain physical aspects of a person that you would
                                                         12 expect to see.



                                                                 Page 3 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 4 of 60
                                               Summary Exhibit 2 (Amended)
                      SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                  FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates     Time Frame Division / Location Evidence                                                                   Source
Brown, Toya               2000    NAGOC               288:15 A.                                                                  288
Plaintiff                         Houston, TX            16          . . . At the time something that
                                                         17 wasn't written but a general understanding or
03/17/97 - 03/31/01                                      18 perception was that within the Cargill Fertilizer
                                                         19 office that I was in, I did only see one or two
                                                         20 African-Americans compared to 99 percent Caucasians.
                                                         21 That's a perception that also would lead you to
                                                         22 believe discriminatory practices were held within
                                                         23 Cargill Fertilizer.

Brown, Toya              During   NAGOC                 395: 8 Q. What's the source of your, or on what do you                   395
Plaintiff              Employment Houston, TX             9 base the assertion then that Mr. Culmer has
                                                          10 experienced discrimination in the area of promotion?
03/17/97 - 03/31/01                                       11 A. I base that on the fact that given Cargill
                                                          12 has 80,000-plus employees, John Culmer is one of a
                                                          13 handful of African-American managers at his level
                                                          14 with over 20-plus years of experience.

Collier, Michael K.     1997-1998   Corn Milling       15. . . . Mr. Hayek was able to go to events with the sales people,
Declarant - Witness                 Cedar Rapids, IA   such as golf outing,s etc. I was not included on the golf outings. I
                                                       asked management about it and they said they didn’t think I liked golf
07/12/95 - 05/30/98                                    or that Cargill could not budget for both Mr. Hayek and ne to be out of
                                                       the office at the same time.

Collier, Michael K.      During   Corn MillingCedar 19. I felt I was not given the tools to do my job and I did not have the Para. 19
Declarant - Witness    Employment Rapids, ID        support of my manager. I think Cargill is a difficult place for African
                                                    American workers. My wife was from Cedar Rapids, Iowa and we
07/12/95 - 05/30/98                                 would hear from others in the community about African Americans who
                                                    had factory experience that would apply to Cargill and would not be
                                                    given jobs. Cargill management is mostly made up of Caucasian
                                                    males and I feel that there is a “good old boys” club tradition that
                                                    continues at Cargill. This tradition helps Caucasians move through the
                                                    ranks, but African Americans did not have the same upward mobility.
                                                    And as my case demonstrates, African Americans can actually be fired
                                                    or forced to leave when there are race problems. African Americans
                                                    get blamed for problems, but those who make racist comments and
                                                    impede work are allowed to keep their jobs.




                                                                   Page 4 of 19
                     Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                      Page 5 of 60
                                              Summary Exhibit 2 (Amended)
                     SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                 FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                           Source
Dickson, Della          During   Admin               336:14    Q Okay. During your career at Cargill, Ms.               336
Plaintiff             Employment Minnetonka, MN         15 Dickson, is there any other point in time that you
                                                        16 learned that you were earning less pay than your peers?
07/21/80 - present                                      17    A No. It's very difficult; Cargill encourages
                                                        18 absolute secrecy on your salary.

Dickson, Della          During   Admin                 399: 20    Q And how has not having a mentor negatively          399-400
Plaintiff             Employment Minnetonka, MN          21 impacted you as compared to Caucasian employees?
                                                         22     A I think that it's easier for Caucasian
07/21/80 - present                                       23 employees to understand the political dynamics of the
                                                         24 company, the behaviors that are valued, the relationships
                                                         25 that need to be established, than it is for nonCaucasian
                                                       400: 1 or African American employees.
                                                         2     Q Have you ever asked any Caucasian employees if
                                                         3 that's the case?
                                                         4     A I have not asked employees if that's the case.
                                                         5 But I've kind of watched how people have been helped
                                                         6 within the company. For example, I know that when Wayne
                                                         7 Teddy came to Minneapolis from Georgia, I understand that
                                                         8 John March had picked out a neighborhood for him to live
                                                         9 in, had talked -- had prechosen or prescreened some
                                                         10 schools for his children, had even, I think, preselected
                                                         11 a couple houses for him to look at.




                                                                 Page 5 of 19
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                     Page 6 of 60
                                                 Summary Exhibit 2 (Amended)
                        SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                    FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates       Time Frame Division / Location Evidence                                                             Source
Dickson, Della             During   Admin               411:22       Q And why do you think the subjectivity would           411-13
Plaintiff                Employment Minnetonka, MN         23 have a negative impact on African Americans versus
                                                           24 Caucasians?
07/21/80 - present                                         25     A Because I think that Caucasian managers feel
                                                        412: 1 they know the Caucasian employees and understand them to
                                                            2 a greater extent than they do the African American
                                                            3 employees.
                                                            4    Q And what is that belief based on?
                                                            5    A It's -- it's really belief that's based on the
                                                            6 fact that except in rare instances, I'm not aware of
                                                            7 African Americans having close interpersonal
                                                            8 relationships with their white managers at Cargill,
                                                            9 versus Caucasian employees who tend to have more close
                                                           10 interpersonal relationships.
                                                           ***
                                                           19     Q Okay. And just explain to me, then, why you
                                                           20 think developing friendships among employees has had a
                                                           21 negative impact on you as compared to Caucasian
                                                           22 employees?
                                                           23     A It's very similar to what we just talked about.
                                                           24 I think that Caucasian managers tend to familiarize
                                                           25 themselves and feel closer to Caucasian employees more so
                                                        413: 1 than they do their African American employee. And it may
                                                            2 have to do with, you know, where they live, their
                                                            3 activities, where they see each other outside of work.
                                                            4    Q And what is the result of that friendship?
                                                            5    A I just think that it gives Caucasian employees,
                                                            6 not all Caucasian employees, but some employees an
                                                            7 advantage in progressing their careers and in developing
                                                            8 these interpersonal relationships with their managers.

Dixon, Audrey S.           During   AFL                 9. I did not enjoy working at Cargill. I felt that many Caucasian     Para. 9
Declarant - Potential    Employment Charlotte, NC       employees, especially those in management favored Caucasian
Class Member                                            employees. I also felt that the group of Caucasian managers that
                                                        socialized together outside of work was very exclusionary. There were
01/19/95 - 06/04/97                                     no African Americans in that group nor were any invited to join the
                                                        group.




                                                                   Page 6 of 19
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 7 of 60
                                                 Summary Exhibit 2 (Amended)
                        SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                    FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates       Time Frame Division / Location Evidence                                                               Source
Douglas, Virginia           1995    CIS                  161:11    Q Why did you take notes about this situation?              161
Plaintiff                           Chicago, IL            12    A Because while I'm sitting there at my desk, I
                                                           13 can see everybody else getting up and going into this
12/03/90 - 11/29/00                                        14 meeting, and I wanted to know what the meeting was about
                                                           15 and how can I become a part of it. I felt that I was
                                                           16 being outcast, so I felt I needed to start taking some
                                                           17 notes on what was going on.

Douglas, Virginia           2000      CIS                208:10     Q How do you believe that Mr. O'Brien belittled            208-09
Plaintiff                             Chicago, IL          11 you?
                                                           12     A I believe that he was the decision maker on the
12/03/90 - 11/29/00                                        13 reorganization. He was the one that put -- placed
                                                           14 Richard and David, all of them in their positions.
                                                           15     Q How did that belittle you?
                                                           16     A Because, for one, we didn't know any of this
                                                           17 was happening. We knew that there was a reorganization
                                                           18 going, but had no idea Richard was going into the
                                                           19 position that he was going into, had no idea David would
                                                           20 be going into the position that he was going into. It
                                                           21 was all hidden.
                                                           22     Q Do you believe that you personally should have
                                                           23 had one of the positions that either David List or
                                                           24 Richard Levin filled?
                                                           25     A If the positions -- I believe that looking at
                                                         209: 1 the whole accounting department and all the people that
                                                           2 had been there, and if he had looked at everybody, then I
                                                           3 would think that I could have been one of the candidates, . . .

Fowler, Raymond E.         During   Excel               5. In my immediate department (IT common systems), there were          Para. 5
Declarant - Potential    Employment Wichita, KS         about seven or eight people. The whole IT Department had between 63-64
Class Member                                            100 to 150 employees. Out of all those employees, I believe that I was
                                                        the only African American. Being the only African American in a large
04/20/92 - 07/17/97                                     department of a large company made me wonder about discrimination.
                                                        My thoughts at the time were that I was older and why wasn’t Cargill
                                                        recruiting African American college students?




                                                                    Page 7 of 19
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 8 of 60
                                                 Summary Exhibit 2 (Amended)
                        SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                    FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates       Time Frame Division / Location Evidence                                                               Source
Gosby, Laverne H.           1996    Excel               183: 6 Q. Do you know roughly what the demographics                    183
Declarant - Potential               Ottumwa, IA            7 were of the work force at the Ottumwa plant,
Class Member                                               8 minority versus nonminority?
                                                           ***
11/23/87 - 04/20/96                                        11 A. Approximately less than 1 percent African
                                                           12 American, and I believe less than 2 percent Hispanic
                                                           13 at that time.

Gosby, Laverne H.          During   Excel                10. I observed from experience at Cargill that Caucasian managers      Para. 10
Declarant - Potential    Employment Ottumwa, IA          seemed to feel far more comfortable with Caucasians than with African 207-10
Class Member                                             Americans. Caucasian males, therefore, were at an advantage
                                                         because they got to know the top officials better. The Caucasian
11/23/87 - 04/20/96                                      males golfed together and Mr. Mellinger had them over for dinner. I
                                                         was never invited, and I think that was because my Caucasian co-
                                                         workers blended in better than I did as an African American. I believe
                                                         that not being invited to those events kept me at a disadvantage.

Hughey, Cheneta            During   Seed                  88: 2 . . . I did                                                    88
Plaintiff                Employment Minnetonka, MN          3 not see any diversity. Out of a building of almost 3,000
                                                            4 people, when you see only, you know, roughly 10 black
07/08/96 - 12/19/97                                         5 people out of 3,000, there is an issue.




                                                                    Page 8 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                   Page 9 of 60
                                               Summary Exhibit 2 (Amended)
                      SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                  FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates     Time Frame Division / Location Evidence                                                        Source
Jenkins, Jacqueline      During   Guntersville, AL    79:15 A. I only recall, after my second assignment to           79-80
Plaintiff              Employment                        16 Burns Harbor I recall Doug Childers telling me that
                                                         17 in the placement of minorities, they make every
07/11/88 - 09/01/97                                      18 attempt to place us where, it's pretty much a safe
                                                         19 type of environment to be in.
                                                         ***
                                                         23 . . . Not all environments are willing to
                                                         24 accept or embrace and help nurture, cultivate a
                                                         25 minority person to, a person of color to really
                                                       80: 1 mature and grow in the business. So the company was
                                                          2 making a special effort, pretty much, to place us
                                                          3 where they thought we could get the nurturing and
                                                          4 growth that we needed.
                                                          5 Q. And do you see anything wrong with that
                                                          6 approach?
                                                          ***
                                                         10 A. I think it's a personal decision. I should
                                                         11 be, I or any other person of color should be
                                                         12 presented opportunities, as a fair work environment
                                                         13 just presented an opportunity, and if there is some
                                                         14 objection on our part, I have not lived in an
                                                         15 environment that I can't live in, that I've
                                                         16 experienced difficulty, so I think I could live
                                                         17 anywhere, so they didn't have to be selective about
                                                         18 where they place me. You just put me there with the
                                                         19 job opportunity and I could do it.




                                                                 Page 9 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                      Page 10 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                            Source
Lewis, Keith               1999    CCI                 221: 7 . . . [Hamm] managers from CCI and he specifically placed my 221
Plaintiff                          Minnetonka, MN         8 senior I/T, my senior I/T technical analyst, Shirley
                                                          9 Mares, as the I/T contact for this group. The
11/02/91 - 07/16/99                                       10 purpose of this group was to make all the decisions,
                                                          11 bases, the implementation of the system, and the
                                                          12 post-implementation decisions surrounding the
                                                          13 application. I was therefore pretty much removed
                                                          14 from that process.
                                                          15 Q. Decisions that you had been making previously
                                                          16 were now being made by a committee of people?
                                                          17 A. Decisions that Mr. Hamm had been a part of
                                                          18 and the project team and the user group, and the
                                                          19 users that participated in the project had been a
                                                          20 part of, were pretty much, you know, made by this
                                                          21 group.
                                                          22 Q. Which you were, you weren't able to give
                                                          23 input into the group?
                                                          24 A. I wasn't allowed any input into this group.

Lewis, Keith              During   CCI                  311:23 A. If I recall, I had mentioned to [Karen Sachs in my exit   311
Plaintiff               Employment Minnetonka, MN      interview] that
                                                           24 there are no minorities in senior management in
11/02/91 - 07/16/99                                        25 information systems, in I/T, that there's no peer
                                                        312: 1 group or group that someone in my position can go to
                                                           2 for a mentor or have a mentor.

Little, Vivian            During   CIS                  41:11 Q. Okay. And what made you think that you were                41
Plaintiff               Employment Chicago, IL           12 not being supported because of your race?
                                                         13 A. There were instances where I was left out of
11/17/97 - 03/10/03                                      14 meetings, I was left out of conversations and
                                                         15 discussions having to do with accounts payable. There
                                                         16 were times when information was given to me after events
                                                         17 had taken place, and these things directly impacted how
                                                         18 I did my job. And I felt that they were because I was
                                                         19 being singled out because I was an African-American.




                                                                 Page 10 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                      Page 11 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                           Source
Little, Vivian             2002    CIS                  48: 5 Q. Okay. Do you know specifically what                      48
Plaintiff                          Chicago, IL            6 information it is that you didn't get that took place
                                                          7 during that meeting that you think was undercutting your
11/17/97 - 03/10/03                                       8 ability to do your job?
                                                          9 A. I would say when management gave information to
                                                          10 an intern who I trained and did not give the information
                                                          11 to me, when the job was mine to do on a daily basis,
                                                          12 that leads me to think that I was being undercut.


Little, Vivian            During   CIS                   78: 3 A. I think the general atmosphere at Cargill               78
Plaintiff               Employment Chicago, IL             4 was -- was pretty hostile. There were instances when I
                                                           5 would be in the hallway, you know, walking from one
11/17/97 - 03/10/03                                        6 department to another, and senior management -- a team
                                                           7 of the senior management or a person from senior
                                                           8 management or the operating committee would walk past
                                                           9 me, and I would speak and say hello, and they would
                                                          10 totally ignore me, like I was transparent, as if I were
                                                          11 not there. There were other people that I had talked to
                                                          12 within the company who had similar experiences.

Mason-Robinson,           During   Salt                  13 A. I was the only black woman, well, in sales in my           13
Valerie                 Employment Baltimore, MD          14     division. I didn't see any people of color in
Plaintiff                                                 15     management in my division, didn't see that many in
                                                          16     Cargill overall.
07/08/96 - 07/18/98




                                                                  Page 11 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                       Page 12 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                            Source
Mason-Robinson,           During   Salt                20:10 Q. What did you tell her [Tausha Tate] about Cargill then,    20
Valerie                 Employment Baltimore, MD       during
Plaintiff                                                 11    the time you were working at Cargill, about your
                                                          12    experiences?
07/08/96 - 07/18/98                                       13 A. I told her I felt ignored, I felt passed up for
                                                          14    different opportunities, I felt uncomfortable, I
                                                          15    felt depressed, overjoyed when I left.
                                                          16 Q. Which one?
                                                          17 A. Both. I felt depressed when I was there and
                                                          18    overjoyed when I got the offer from my current
                                                          19    company, and I felt that I was never really given
                                                          20    an opportunity to prove myself, my credibility, to
                                                          21    show that I could do the job.
                                                          22 Q. And you were at Cargill for a period of about two
                                                          23    years. Is that right?
                                                          24 A. That's correct.
                                                          25 Q. Anything else you remember talking to her about
Mason-Robinson,           During   Salt                  185:17 Q. Did other inside sales reps have similar KRAs?          185
Valerie Plaintiff       Employment Baltimore, MD           18 A. I'm not sure what their performance evaluation was,
                                                           19    but I think this whole process can be subjective,
07/08/96 - 07/18/98                                        20    because it kind of leads into that KEIS program;
                                                           21    and that KEIS program was all about, from my
                                                           22    understanding, who you know and who likes you, and
                                                           23    it was all kind of hush-hush and back door.

Mason-Robinson,           During   Salt                  197:23 Q. You also state here that none of your managers gave     197
Valerie                 Employment Baltimore, MD           24     you a valid reason for getting passed over. What
Plaintiff                                                  25     kind of reasons did they give you then?
                                                         198: 1 A. I don't think anybody ever really gave me a true
07/08/96 - 07/18/98                                        2     reason. They kind of -- I felt like I was ignored
                                                           3     and just told to sit there. My issue with that was
                                                           4     I was never given the opportunity to interview for
                                                           5     the position. Most things seemed to happen behind
                                                           6     closed doors, like, hey, you got the job, don't
                                                           7     worry about it. So by the time I found out the
                                                           8     position or it became public to everybody, it was a
                                                           9     done deal and it was -- I felt very ignored and
                                                           10     passed over.


                                                                   Page 12 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                       Page 13 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                            Source
Mason-Robinson,           During   Salt                 205:19 A. You know, that's kind of hard to define to me to a       205-06
Valerie                 Employment Baltimore, MD          20    certain extent, because I believe that the
Plaintiff                                                 21    environment was not friendly, I believe the
                                                          22    environment wasn't friendly to African Americans
07/08/96 - 07/18/98                                       23    because, one, most of them didn't have any
                                                          24    experience with African Americans on professional
                                                          25    or personal relationships, for the most part. So
                                                       206: 1    just different things, such as the jokes and --
                                                          2    well, definitely the jokes. A lot of things I
                                                          3    think that happened are almost institutionalized to
                                                          4    a certain extent. . .. .

Mason-Robinson,           During   Salt                  225: 6 A. . . .                                                   225
Valerie                 Employment Baltimore, MD           7                             . . . But I probably felt
Plaintiff                                                  8     like in order to move around the company, people
                                                           9     had to get to know you, and that's kind of
07/08/96 - 07/18/98                                        10     subjective; and since I wasn't in a location that
                                                           11     was large in order to network, it was hard to know
                                                           12     what was available in other parts of the company,
                                                           13     because it was so kind of under the table.
                                                           14 Q. What do you mean under the table?
                                                           15 A. Like closed door, automatic, seemed like positions
                                                           16     were automatically given to people.
Mason-Robinson,           During   Salt                  320: 15 Q. Do you know what the requirements were to be           320
Valerie                 Employment Baltimore, MD           16 evaluated on the KEIS list?
Plaintiff                                                  17 A. Nope.
                                                           18 Q. So you don't know how long you had to be at
07/08/96 - 07/18/98                                        19 Cargill before you could be considered?
                                                           20 A. It was really hush-hush.




                                                                   Page 13 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                       Page 14 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                            Source
McDowell, Anthony       2000-2002 NAGOC /              241: 2 A. Because what they were describing to me, the              241
Plaintiff                          GRNOSNA                3 things that were happening and I wasn't there, that
                                   Fayetteville, NC       4 made me think that, you know, this is not right. I
11/12/97 - 04/02/03                                       5 was the only crew leader being targeted, I felt I was
                                                          6 the only one being targeted on these issues.
                                                          7 Q. Did you have conversations with any of your
                                                          8 fellow crew leaders as to whether these issues had
                                                          9 been raised with them?
                                                          10 A. Yes.
                                                          11 Q. Who did you talk to about that?
                                                          12 A. Cecil Smith, Sven Christensen, Phillip
                                                          13 Strouble.
                                                          14 Q. At the time were you the only
                                                          15 African-American crew leader?
                                                          16 A. Yes, sir.

McDowell, Anthony          2001      NAGOC /             489:23 but how long were you in the South Carolina plant?         489-90
Plaintiff                            GRNOSNA               24 A. We spent two days. May I clarify something,
                                     Fayetteville, NC      25 sir?
11/12/97 - 04/02/03                                      490: 1 Q. Sure.
                                                           2 A. I want to clarify for the record that each
                                                           3 visit -- both of these visits, I noticed that there
                                                           4 were no African-American supervision -- supervisors
                                                           5 in management.




                                                                  Page 14 of 19
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                          Page 15 of 60
                                                 Summary Exhibit 2 (Amended)
                         SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                     FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates        Time Frame Division / Location Evidence                                                                   Source
Scott, Charles              During   CFI                 502:17 Q. What were the other obstacles you faced in                       502-03
Plaintiff                 Employment Minnnetonka, MN        18 recruiting people. Was salary something that came
                                                            19 up?
02/11/91 - 05/02/98                                         20 A. Yes.
                                                            21 Q. Was it because Cargill's salaries were lower
                                                            22 than competitors?
                                                            23 A. Yes.
                                                            24 Q. What else, location, salary?
                                                            25 A. Lack of minority representation within
                                                         503: 1 Cargill. In this day and age when you're trying to
                                                            2 convince someone to work for a company like Cargill
                                                            3 and they have Coca-Cola knocking on their door also,
                                                            4 when they look at which one has more people that look
                                                            5 like me, by far we did not stand out.

Sharp, Jacqueline T.        During   Corn Milling         16. Based on my own convictions, I believe Cargill management              Para. 16
Declarant - Potential     Employment Memphis, TN          would have treated me differently if I were white. . . For me, one of the
Class Member                                              biggest problems was not being able to develop a rapport with my
                                                          managers. My managers would only talk to me when they had to for
09/20/83 - 03/06/96                                       work reasons, whereas it seemed that managers had a more
                                                          comfortable relationship with Caucasian employees. I think if my
                                                          managers had been more willingly to talk to me, I would have been
                                                          more informed of what they expected, so that I would have had more
                                                          advancement opportunities. I also feel that a good working
                                                          relationship was stifled by the lack of diversity in management. I do
                                                          not recall ever receiving any information on diversity programs. Twice
                                                          I was chosen to attend NAACP programs at Cargill’s expense.
                                                          Despite that, no manager ever asked me for my insight on any racial
                                                          issues or diversity.
Smith, Candy McKinnon       During   CIS                  16. I never heard of any diversity program at Cargill. I got the           Para. 16
Declarant                 Employment Chicago, IL          impression that Cargill really did not care about diversity. I did not see
                                                          African Americans in “good” positions, such as management or sales.
04/27/92 - 08/02/97                                       I think it was a mental effect because there were no African Americans
                                                          being hired or allowed to advance. There were no African Americans
                                                          at the company to really look up to. It was Caucasians in charge and
                                                          African Americans doing other work.




                                                                     Page 15 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 16 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                             Source
Tyler, Emily            1998-2000 CIS                  111: 2 Q. Now I would like to turn to the time period                111
Plaintiff                          Chicago, IL            3 during which you were an account manager from
                                                          4 September 1998 until April of 2000. Did anything
05/26/92 - 08/05/00                                       5 occur during that time period that you believe was
                                                          6 somehow discriminatory?
                                                          7 A. Yes.
                                                          8 Q. What was that?
                                                          9 A. I feel I was discriminated against in that
                                                          10 information would be given to my subordinates and
                                                          11 withheld from me as the accounting manager. . .

Willis, Cheryl          1993-1997    Admin               89: 20 A. There were occasions where, like later on                89-90
Plaintiff                            Minnetonka, MN       21 when Julie McLellan joined the group that we would
                                                          22 have project meetings that I was a part of that he
06/02/86 - 05/01/01                                       23 chose not to include me. There were, sometimes
                                                          24 during that, sometimes there would be outsiders that
                                                          25 would come in and give information that would aid in
                                                         90: 1 the decision-making process, that would aid us in the
                                                           2 decision-making process, and I was told by John that
                                                           3 I would get the summary of it, the summary of the
                                                           4 information.

Willis, Cheryl          1993-1997    Admin               98:17 Q. So how many meetings total do you believe                 98-99
Plaintiff                            Minnetonka, MN        18 that you should have been invited to but were not
                                                           19 invited to?
06/02/86 - 05/01/01                                        20 A. My estimate would be that there were probably
                                                           21 anywhere from one to two dozen.
                                                           22 Q. And do you honestly believe that you were not
                                                           23 invited to participate because of your race?
                                                           24 A. I believe that I was not invited to
                                                           25 participate because John [Ringquist, Caucasian] had a problem
                                                        with me as
                                                         99: 1 being an African-American and he had some biases
                                                            2 regarding me from day one, and that was one of the
                                                            3 ways that he showed it.




                                                                  Page 16 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                    Page 17 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                         Source
Willis, Cheryl            During   Admin               99: 7 A. When I was looking for some meaningful work             99-100
Plaintiff               Employment Minnetonka, MN          8 to do, I had done some preliminary research on what I
                                                           9 will call now online learning systems and the effects
06/02/86 - 05/01/01                                       10 of the online learning systems, and I had a
                                                          11 discussion with John Ringquist to say that I thought
                                                          12 that this was a value-added service that we could
                                                          13 potentially bring to Cargill and it could
                                                          14 revolutionize how we conduct education to provide
                                                          15 just-in-time education to end users. And I think I
                                                          16 had even had a couple of things to show him and he
                                                          17 gave me permission to proceed and do some research.
                                                          18        And at the conclusion of that project I had a
                                                          19 paper that I wrote and some, actually had a
                                                          20 presentation, and when I presented it to him and told
                                                          21 him that I would like to discuss it, he pretty much
                                                          22 dismissed it, put it in his drawer. And I had asked
                                                          23 him if we could talk about it a couple of times and
                                                          24 he never made time for me to even discuss it.
                                                          ***
                                                       100: 3 Q. And you believe that that was somehow because
                                                           4 of your race?
                                                           5 A. Yes.
                                                           6 Q. Why?
                                                           7 A. Because of the pattern that I saw with John
                                                           8 and how he seemed to categorically prevent me from
                                                           9 taking on and executing meaningful projects. And I
                                                          10 did not see him doing those same things with my white
                                                          11 counterparts.




                                                                 Page 17 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                       Page 18 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                            Source
Willis, Cheryl          1999-2001 Admin                209: 1       But I also recall, and I think that might              209
Plaintiff                          Minnetonka, MN         2 have been with Rick Toboz but I'm just not sure, I also
                                                          3 recall applying for a position with Rick and
06/02/86 - 05/01/01                                       4 following up with a phone call, I think I did some
                                                          5 phone calls and I did some e-mails, trying to, to
                                                          6 work in his area. And that I do remember being when
                                                          7 I was, I didn't have a position. And I was concerned
                                                          8 that he wouldn't return any of my phone calls, and
                                                          9 when other individuals began doing that, that for me
                                                          10 was an indication that they were not interested in,
                                                          11 in having me work within their area. . .


Wright, Sean              During   NAGOC                 211: 21     A No. It was my understanding and my belief            211-12
Plaintiff               Employment Minnetonka, MN          22 after being there that [advancement] can only happen one way,
                                                         and
05/19/97 - 08/05/00                                        23 that was, A, your manager wanted it to happen and groom
                                                           24 you for it and, B, you had to be selected by whoever made
                                                           25 the selections. But who made the selections and how the
                                                         212: 1 selections were made and what manner they used to select
                                                            2 the individuals was never shared with me.




                                                                   Page 18 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                      Page 19 of 60
                                               Summary Exhibit 2 (Amended)
                       SELECTED EVIDENCE OF EXCLUSIONARY AND SECRETIVE CULTURE
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                           Source
Wright, Sean              During   NAGOC               342: 11     A . . . Cargill was an                                 342-43
Plaintiff               Employment New Mexico             12 environment where you didn't complain to your managers,
                                                          13 for the most part. If it could at all be helped, it
05/19/97 - 08/05/00                                       14 wasn't something related to outside sources, complaining
                                                          15 about internal HR-type problems or personality conflicts
                                                          16 was something that would pretty much lead to the death of
                                                          17 your career, so, no, I would not have discussed that with
                                                          18 him.
                                                          19     Q Did anyone ever tell you that you could not
                                                          20 complain to human resources?
                                                          21     A I don't know what you understand about a
                                                          22 corporate culture, but it's something that is not always
                                                          23 discussed, but it's an impression that individuals get
                                                          24 from observing the behavior of other employees within the
                                                          25 company, how they act, how they behave, who they speak
                                                       343: 1 to, who they don't speak to, what they say to the
                                                          2 individuals they do speak to, what they don't say to the
                                                          3 individuals they don't speak to.




                                                                  Page 19 of 19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 20 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                    Source
Acquaye, Nii-Akwei                 Minnetonka, MN      111:15 Q Did Mr. Leslie ever say anything that you                     111, 282-83
Plaintiff                                                 16    considered to be discriminatory in any way?
                                                          ***
05/02/97 - 03/00/02                                       19 A During my presentations we would -- as a business
                                                          20    unit we all gave presentations just about every
                                                          21    month and during some of mine some of the comments
                                                          22    he would make were to the effect that, "Don't
                                                          23    worry, we won't eat you." That is what I recall.
                                                          ***
                                                       282: 23 A His comments. His comments to me in group
                                                          24    settings were, I felt, discriminatory when he
                                                          25    commented that, I am paraphrasing here, don't
                                                       283: 1    worry, we won't eat you.
                                                           2           Frankly, you know, for me that evoked a
                                                           3   lot of thoughts about what he meant by that. You
                                                           4   know, was it cannibalism? Was it a reference to
                                                           5   cannibalism?

Acquaye, Nii-Akwei                 Minnetonka, MN     116: 2 Q Did Mr. Banks [co-worker] tell you that Mr. Leslie had it in   116
Plaintiff                                                3    for you because of your race?
                                                         4 A I believe he did.
05/02/97 - 03/00/02                                      7 Q And as best you can recall what did Mr. Banks say
                                                         8    to you?
                                                         9 A Mr. Banks, as far as I can remember, as we were
                                                        10     having the conversation and I told him I was
                                                        11     having a difficult time he said, "Yeah, I know."
                                                        12            And then he made a comment about, "Boy,
                                                        13     I think he has it in for you and I don't know
                                                        14     why." Then he said, "It's probably because you're
                                                        15     not like him."
                                                        16 Q Did you ask him what he meant by that?
                                                        17 A Yes.
                                                        18 Q And what did he say?
                                                        19 A He said, "Come on, you're black."




                                                                         1
                     Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 21 of 60
                                              Summary Exhibit 3 (Amended)
                     SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                  FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates   Time Frame   Division / Location Evidence                                                                   Source
Arnold, Roderick                                      116: 8 A. The -- the president of the division determined            116
Plaintiff                                                9 that I didn't -- didn't fit his -- his profile
                                                         10 for a salesperson.
11/05/79 - present                                       11 Q. Who was the president of the division?
                                                         12 A. Mike Urbanic.
                                                         13 Q. And he's the same Mike Urbanic we talked about
                                                         14 before?
                                                         15 A. Yes.
                                                         16 Q. How do you know he determined that you didn't
                                                         17 fit the profile?
                                                         18 A. The -- the national sales manager told me.




                                                                         2
                     Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                     Page 22 of 60
                                              Summary Exhibit 3 (Amended)
                     SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                  FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates   Time Frame   Division / Location Evidence                                                              Source
Arnold, Roderick                                      212:19 A. And in my experiences as department managers at         212-14
Plaintiff                                                20 the facilities -- and thinking specifically of
                                                         21 -- of the Cedar Rapids operation -- would have
11/05/79 - present                                       22 senior managers come in once every six months
                                                         23 for a business review. . .
                                                         ***
                                                      213: 2                                . . . In
                                                          3 my time slots I would receive kind of what I
                                                          4 would call heckling, specifically directed at me
                                                          5 from Urbanic is the -- probably the most
                                                          6 significant player that I could think of who
                                                          7 would introduce the heckling as I would get up
                                                          8 to give my presentation. And his comments to me
                                                          9 were -- were such that well, guys, get ready.
                                                         10 Here is a bunch of BS getting ready to come at
                                                         11 us, to roll up your -- roll up your pants legs.
                                                         12 And, of course, he would get laughter from the
                                                         13 group. And then no sooner than I would get into
                                                         14 my presentation, I would be standing in front of
                                                         15 him, just like I'm sitting across from you. He
                                                         16 would proceed to go to sleep. So, needless to
                                                         17 say, it -- it would make me feel uncomfortable.
                                                         18 And so I conducted an experiment -- I called
                                                         19 it -- in that I would let my employees give the
                                                         20 same presentation that I would develop to see
                                                         21 what his reaction was. And he didn't react in
                                                         22 the same manner. He didn't make a comment. He
                                                         23 was attentive during the session. He didn't get
                                                         24 up and leave as he had done during my
                                                         25 presentation. So that was a -- that was a -- an
                                                      214: 1 example to address something that you were
                                                          2 asking about at the Cedar Rapids facility. . .




                                                                       3
                     Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                    Page 23 of 60
                                              Summary Exhibit 3 (Amended)
                     SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                  FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates   Time Frame Division / Location Evidence                                                                 Source
Arnold, Roderick        2001    Corn Milling        278: 3 Q. . . . During the period of time that you have            278
Plaintiff                       Minnetonka, MN         4 served as the corporate rail fleet manager, from
                                                       5 January, February of '01 up until now. . .
11/05/79 - present                                     6 . . . is
                                                       7 there anything that has occurred in your work
                                                       8 life that you believe constitutes racial
                                                       9 discrimination against you?
                                                       10 A. The first item I can think of is almost
                                                       11 immediately after accepting the position as rail
                                                       12 fleet maintenance manager, Mr. Cox brings me
                                                       13 into his office and kind of -- what I would
                                                       14 describe as a ritualistic marking of the
                                                       15 territory, talks to me about the fact that I had
                                                       16 contacted an attorney and made some allegations
                                                       17 against the company. And that he was willing to
                                                       18 bury the hatchet if I would let it go.

Arnold, Roderick       During                        396:15 Q. Are you aware of an organization called the             396-97
Plaintiff            Employment                        16 Ebony Council?
                                                       17 A. Yes.
11/05/79 - present                                     18 Q. What's that?
                                                       19 A. That is a recognized organization in Cargill of
                                                       20 African American employees who have developed a
                                                       21 -- a network.
                                                       22 Q. What's the purpose of the organization?
                                                       23 A. I've read their -- their charter. It's --
                                                       24 succinctly, it's to -- it's to help fellow
                                                       25 African American employees succeed in the
                                                     397: 1 company.
                                                        ***
                                                       10 Q. How involved are you in it?
                                                       11 A. With the advent of this case I elected not to be
                                                       12 involved. I didn't want to jeopardize the
                                                       13 group.
                                                       14 Q. Did you have some reason to believe that the
                                                       15 group would be jeopardized --
                                                       16 A. Yes.
                                                       ***
                                                       19 A. . . . I felt or I feel that the company views
                                                       20 the complaint -- complainants as rabble-rousers,

                                                                       4
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 24 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                           Source
                                                          21 troublemakers. And so people who are -- or
                                                          22 groups that are affiliated, in essence, would be
                                                          23 conspiring against the company. So --

Arnold, Roderick        2001                          397:24 Q. What's your basis for saying that the company                        397-98
Plaintiff                                               25 views the plaintiffs in this case as
                                                      398: 1 rabble-rousers or conspirators against the
11/05/79 - present                                      2 company?
                                                        3 A. Well, I'll give you a real good example. When
                                                        4 the complaint was publicized neither one of my
                                                        5 supervisors, my direct supervisor or -- or his
                                                        6 supervisor, would as much speak to me for a
                                                        7 number of weeks.
                                                        8 Q. So that was Peter and Dale?
                                                        9 A. Yes.
                                                        10 Q. Anything else that makes you say that?
                                                        11 A. I guess I -- I have witnessed other incidents
                                                        12 where an employee or -- yeah -- an employee had
                                                        13 challenged the status quo in what was not deemed
                                                        14 to be being a team player and methodically
                                                        15 removed from the organization.


Branham, Hollis                                        53: 10 And there were conversations                                           53
Plaintiff                                               11 in the lab where Du [Nguyen, Asian] expressed his dislikes to, dislikes
                                                        12 for black people by saying when he, when he thinks of
07/21/00 - 10/01/01                                     13 black men, you think of crime, and by also saying that he
                                                        14 wouldn't, that he wouldn't sleep with a black woman
                                                        15 because they're dirty.
                                                        16          There were several conversations he talked
                                                        17 about his experience at restaurants. He stated that all
                                                        18 of his African American customers refused to tip him and
                                                        19 he didn't want to wait on their tables.




                                                                          5
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                    Page 25 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                     Source
Branham, Hollis                                        171: 7 Q. Other than the comments made by Du [Nguyen], are there any   171
Plaintiff                                                 8 other discriminatory or racist comments that you have
                                                          9 heard in the workplace?
07/21/00 - 10/01/01                                       10 A. Yes.
                                                          11 Q. What comments are those?
                                                          12 A. Jim [Jobes] was giving reference to an example for, for
                                                          13 someone, it was Pete and myself, where he, he used the
                                                          14 word "nigger."
                                                          15 Q. When was that?
                                                          16 A. This fiscal year.

Brown, Toya                                          457:12 A. Okay. In terms of ethic backgrounds                            457-58
Plaintiff                                              13 Mr. Novatny made comments that were racial comments
                                                       14 about Maxwell Enwere, who is an African-American in
03/17/97 - 03/31/01                                    15 the office.
                                                       16 Q. What did he say in regards to Mr. Enwere?
                                                       17 A. He said that the customers couldn't,
                                                       18 something along the lines that the customers couldn't
                                                       19 understand his African English.
                                                       20 Q. If you know, was Mr. Enwere born in Africa?
                                                       21 A. Yes.
                                                       22 Q. Do you know at what point in time he came to
                                                       23 the United States?
                                                       24 A. From what I remember, it was for his college
                                                       25 education. So somewhere along the lines of his early
                                                     458: 1 to mid-20s.
                                                       2 Q. Do you know what country in Africa he grew up
                                                       3 in?
                                                       4 A. Yes.
                                                       5 Q. Which country?
                                                       6 A. Nigeria.
                                                       7 Q. Did he have any sort of accent that you could
                                                       8 tell?
                                                       9 A. Yes.




                                                                       6
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                          Page 26 of 60
                                                 Summary Exhibit 3 (Amended)
                        SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                     FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                                            Source
Cephus, Lois E.            1999    Excel               14. Right before I was demoted, Mr. Stafford asked me to come into his office. Para. 14
Declarant - Potential              Dodge City, IA      During our conversation, I got up and he yelled at me to sit down. He treated 137-142
Class Member                                           me like I was some kind of slave. He told me that he was my superior and
                                                       that I had to do everything he said. He was using a very nasty tone of voice
11/10/90 - 04/09/01                                    and yelling terrible things at me. I had had enough, so I told him that he had
                                                       no right to talk to me like that. I was mad at myself for letting him get to me,
                                                       but I was also extremely upset for him treating me like nothing.


Cephus, Lois E.            1999      Excel               15. After I was demoted, it seemed like every time I turned around, I was       Para. 15
Declarant - Potential                Dodge City, IA      called into the office for petty stuff. On August 18, 1999, I was told that Mr.
Class Member                                             Stafford wanted to talk to me. I went to talk to him and found him in the Fab
                                                         Manager’s, Steve Thompson (Caucasian), office, along with Mr. Thompson,
11/10/90 - 04/09/01                                      Dave Wessling (Caucasian), Excel Corporate Human Resource Manager, and
                                                         Mr. Schnitker [Caucasian Plant Manager]. I spoke to Mr. Schnitker when I
                                                         entered the room, but he did not respond. He would never look at me, even if
                                                         I was talking to him. I believe this was because he was prejudiced. Mr.
                                                         Stafford and I then went next door and he asked me about several things that
                                                         he said he had been hearing. He asked me if I had said that management
                                                         was trying to fire the other African American nurse, Karla Alberty. I told Mr.
                                                         Stafford that I had not said that, even though I felt that management was
                                                         trying to fire her. He continued to ask me other questions about other nurses
                                                         and things that I had done, such as put a worker back on work restrictions,
                                                         which had apparently upset people in upper management. I told him that I felt
                                                         like he was discriminating against me. I think the whole circumstances were
                                                         inappropriate.
Cephus, Lois E.            2000      Excel               16. This type of harassment continued from other Cargill managers. One          Para. 16
Declarant - Potential                Dodge City, IA      night in January 2000, it was snowing really badly. At the end of my shift, Mr.
Class Member                                             Gookins [Caucasian Manager] called me into his office. He said he wanted to
                                                         talk to me about something. I asked if it could wait because I was worried
11/10/90 - 04/09/01                                      about the weather and Mr. Gookins office was on the other side of the building
                                                         and so I would be delayed in getting on the road. He insisted that I come to
                                                         his office anyway. Once I arrived at his office, Mr. Gookins gave me a written
                                                         warning for being late. The day I was late was a month earlier and the nurses’
                                                         standard procedure was not to have a strict timetable because of all of our
                                                         overtime. None of the other Caucasian nurses were written up when they
                                                         were late.




                                                                             7
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 27 of 60
                                                 Summary Exhibit 3 (Amended)
                        SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                     FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                                            Source
Cephus, Lois E.           During   Excel               18. . . . [T]here was one day when I was in a meeting, sitting across from Mr. Para. 18
Declarant - Potential   Employment Dodge City, IA      Schnitker. Other people were entering the room. He started telling a story of
Class Member                                           a big black man in Canada that he used to give a hard time. He was looking
                                                       at me the entire time and he suddenly ended his story. I got the feeling that
11/10/90 - 04/09/01                                    there was more to the story and he wasn’t finishing it because I was in the
                                                       room. I felt very uncomfortable.

Cephus, Lois E.          After June   Excel              21. In addition to my experiences of being demoted, instead of promoted in     Para. 21
Declarant - Potential       1999      Dodge City, IA     1999 and being refused a promotion that I deserved and was qualified for in    202-203
Class Member                                             February 2000, I witnessed others not receive promotions. After my
                                                         demotion, my assistant, Linda Davis (Caucasian) was not given a promotion.
11/10/90 - 04/09/01                                      Either Mr. Stafford or Mr. Schnitker told her that she was denied the position
                                                         because I had trained her. Luckily for Ms. Davis, another manager that had
                                                         been at the Dodge City plant knew the situation and asked Ms. Davis to
                                                         transfer to his plant in Nebraska to escape the negative environment.

Cephus, Lois E.            1999       Excel              4. In 1999, Mr. Stafford informed me that I was being demoted. I was never Para. 4
Declarant - Potential                 Dodge City, IA     told why I was demoted. I think I was demoted because I kept my duty
Class Member                                             regarding medical confidentiality and the managers did not respect
                                                         confidentiality. It appeared to me that management wanted to use confidential
11/10/90 - 04/09/01                                      information and wanted to get people off restricted duty as quickly as possible,
                                                         sometimes too quickly. I was very upset about being demoted because I felt
                                                         more than anything that the Plant Manager, Dan Schnitker (Caucasian),
                                                         wanted a Caucasian Occupational Health Manager. I feel that way because
                                                         there were rumors that Mr. Schnitker [Plant Manager, Caucasian] had said
                                                         that the problem with the plant was that it was run by too many minorities. He
                                                         started replacing people of color in management positions. To me, it was
                                                         obvious that Mr. Schnitker did not like people of color.




                                                                             8
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 28 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                            Source
Collier, Michael K.   1997-1998 Corn Milling          49:13 Q. What had happened with Mr. Benesh before?                             49-50
Declarant - Witness              Cedar Rapids, ID       14 A. I would ask to like go out and visit some
                                                        15 customers in certain areas, and he made it like as if
07/12/95 - 05/30/98                                     16 it wouldn't really be a good fit to go there or ask
                                                        17 for a particular salesperson for that, if that was
                                                        18 okay to do -- and it was put like you shouldn't go to
                                                        19 this company because, you know, you should go to this
                                                        20 company instead, I think you'd get along with them --
                                                        21 or they would be more okay with you coming there than
                                                        22 this company would be.
                                                        23 Q. What did you think he meant by that?
                                                        24 A. That -- I felt because I was black I
                                                        25 shouldn't go to Frazier Paper because of the -- I
                                                      50: 1 don't want to say type of people, but because of the
                                                        2 atmosphere there at Frazier versus going to a company
                                                        3 in Chicago, you know.
Collier, Michael K.     During   Corn Milling          89: 7 Q. Okay. When Mr. Jones indicated he had heard                          89
Declarant - Witness   Employment Cedar Rapids, ID        8 other people use discriminatory language, was he
                                                         9 referring to someone besides Mr. Ague?
07/12/95 - 05/30/98                                     10 A. Yes.
                                                        11 Q. Do you know who he was referring to?
                                                        12 A. I can't think of their names. Other plant
                                                        13 workers.
Collier, Michael K.   1997-1998    Corn Milling       12. I do not think there will ever be an African American person as a Starch   Para. 12
Declarant - Witness                Cedar Rapids, ID   Operator because the people that work in that department are overtly racist.   77-86
                                                      Larry Ague (Caucasian) was the worst. Mr. Ague would comment when
07/12/95 - 05/30/98                                   African American truck drivers would come in that “they” did not know what
                                                      “they” are doing. He would say “nigger” all the time. He would also make
                                                      jokes using racial slurs.




                                                                          9
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 29 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                             Source
Collier, Michael K.    1997-1998 Corn Milling        14. I feel that Caucasians workers at Cargill get better assignments than the Para. 14-15
Declarant - Witness              Cedar Rapids, ID African American workers. Caucasians also had all the management                    49-60
                                                     positions. Caucasians received longer trips for sales meetings. I also felt that
07/12/95 - 05/30/98                                  only certain people would be assigned to certain accounts. I once asked for a
                                                     trip to visit sales people and I was finally able go on one trip. However, the
                                                     Caucasian employees, Wayne Strang, Randy Benesh, Todd Hayek and Kevin
                                                     Klawitter were able to stay on the trip to network much longer than I was
                                                     allowed to stay.
                                                     Training
                                                     15. I was able to attend customer service training for a week in Madison,
                                                     Wisconsin in the last week of October in either 1996 or 1997. However, I do
                                                     not feel I was given the same training as my Caucasian co-workers. They
                                                     were able to go to sales meetings to build their confidence and list of contacts
                                                     and I was not. Therefore, I had a harder time building a rapport with other
                                                     sales people. Mr. Hayek was able to go to events with the sales people, such
                                                     as golf outings, etc. I was not included on the golf outings. I asked
                                                     management about it and they said they didn’t think I liked golf or that Cargill
                                                     could not budget for both Mr. Hayek and me to be out of the office at the same
                                                     time.
Collins, Dawn            During                       158:23       Q Did you ever hear that anyone had said anything                  158-163
Plaintiff             Employment                         24 discriminatory towards African Americans?
                                                         25      A Yes.
07/20/92 - 08/02/00                                   159: 1       Q And what was that?
                                                          2     A It was not uncommon in the evaluation process
                                                          3 of candidates that were brought in from campus to hear
                                                          4 African Americans referred to as being too polished, to
                                                          5 receive that feedback from the -- from the evaluators, or
                                                          6 they seemed too prepared, and that those would be grounds
                                                          7 for not extending an offer to the candidate.
                                                     ***
                                                      163:13       Q Okay. And did you ever hear anyone at Cargill
                                                         14 refer to a Caucasian candidate as too prepared?
                                                         15      A I do not recall hearing that.




                                                                          10
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                      Page 30 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                               Source
Collins, Dawn                                          254:20       Q And at the time that the phase one committee        254-56, 258-59
Plaintiff                                                 21 kind of took shape in April of '98, was there a working
                                                          22 definition of VDI?
07/20/92 - 08/02/00                                       23      A Yes, there was.
                                                          24      Q And what was it?
                                                          25      A It's a rather lengthy document.
                                                       255: 1      Q Well, what do you recall?
                                                           2     A The statement expressed that Cargill valued all
                                                           3 of its employees and that valuing differences really was
                                                           4 to exceed the traditional race, sex, ethnic group type
                                                           5 definitions of diversity to one that was more inclusive
                                                           6 of all -- all employees.
                                                           7     Q Did you have any objection to that broader
                                                           8 definition?
                                                           9     A Can you ask that again, please?
                                                          10      Q Did you have any objection to that broader
                                                          11 definition?
                                                          12      A It seemed a bit watered down.
                                                          13      Q What do you mean?
                                                          14      A Meaning that the organization adopted a more
                                                          15 palatable definition for diversity.
                                                          16      Q It adopted a more inclusive definition of
                                                          17 diversity.
                                                          18      A To be more palatable for the management team.
                                                          19      Q Well, would someone who was representing the
                                                          20 rights of, you know, gay and lesbian employees be
                                                          21 satisfied with the definition of diversity that looked
                                                          22 only at race and sex?
                                                          23              MS. STRATTON: Objection, foundation.
                                                          24      A My perception is that it watered down the
                                                          25 traditional definition of diversity and the EEO
                                                       256: 1 statements and policies to be something that would be
                                                           2 more acceptable to Cargill management, for them to be
                                                           3 willing to act on.
                                                          ***
                                                       258:14       Q Did you ever hear anyone in management express
                                                          15 a view that would indicate a lack of commitment to
                                                          16 diversity?
                                                          17              MS. STRATTON: Anytime, anywhere?
                                                          18              MS. RAPHAN: Correct.


                                                                        11
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 31 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                  Source
                                                          19     A Well, Dave Raisbeck had said at the -- at the
                                                          20 meeting that he addressed the -- the group on VDI, his
                                                          21 comment was that it's not that Cargill doesn't want to
                                                          22 do -- do diversity and do it well, it's that it's a lot
                                                          23 like going to church. And when you're there on Sunday
                                                          24 morning, you -- you hear it all, you understand it all
                                                          25 and accept it all. But then on Monday, you leave and
                                                       259: 1 sometimes it leaves you too.

Collins, Dawn                                          402:20     Q And why was corporate IT selected?                       402-03
Plaintiff                                                21     A I was told that corporate IT was selected
                                                         22 because they had issues in the area of diversity.
07/20/92 - 08/02/00                                      23     Q And who told you that?
                                                         24     A It was discussed amongst the team.
                                                         25     Q And when was it discussed? When is the first
                                                       403: 1 time it was discussed?
                                                         2      A In the initial meetings.
                                                         3      Q And who made the comment?
                                                         4      A I don't recall who -- who stated that.
                                                         5      Q And what issues were discussed?
                                                         6      A Women and minorities in management were
                                                         7 specifically discussed.

Collins, Dawn                                          425:24    Q Do you have any information that anyone in                425-27
Plaintiff                                                25 corporate IT intentionally discriminated against African
                                                       426: 1 Americans at any time?
07/20/92 - 08/02/00                                      2     A Yes.
                                                         3     Q And what is that?
                                                         4     A At a presentation to -- let me back up.
                                                         5 Cargill sponsored events with participants from various
                                                         6 campuses at which the company recruited. So invitations
                                                         7 would be sent to faculty, and then the faculty would come
                                                         8 and bring students, three, four, something like that,
                                                         9 from a given campus, and they would spend a day at
                                                         10 Cargill and have the opportunity to become familiar with
                                                         11 the organization. As a piece of that, there is a
                                                         12 management segment, where managers come in and address
                                                         13 the group, and there's a question and answer discussion
                                                         14 with senior management. One of those senior managers was
                                                         15 Lloyd Taylor. And there was a question from the audience

                                                                          12
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 32 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                      Source
                                                          16 with regards to women and minorities within -- within
                                                          17 Cargill. A woman asked about the -- that she did not
                                                          18 observe during the course of the day very many people of
                                                          19 color in the organization, and she wanted to know about
                                                          20 women in management positions, as well as people of
                                                          21 color, and why she didn't seem to see very many. And his
                                                          22 response to that was, I'm tired of the question of women
                                                          23 and minorities. We hire and promote the best people for
                                                          24 the job.
                                                          25    Q And were you present?
                                                       427: 1     A Yes, I was.

Collins, Dawn                                         448:10     Q Have you now told me all ways in which you feel             448
Plaintiff                                               11 Sue Sjeklocha discriminated against you?
                                                        12    A I felt that the fact that I was a black person,
07/20/92 - 08/02/00                                     13 or an African American person, in that role as a
                                                        14 diversity and retention specialist, by me working in that
                                                        15 capacity, Sue did not have to -- or felt she did not have
                                                        16 to provide the resources to appropriately support my
                                                        17 success in that role because the view to the rest of the
                                                        18 organization was, well, there's -- there's a African
                                                        19 American in that job and there wasn't a real impetus to
                                                        20 continue to show the change beyond having a person in
                                                        21 that role that was African American.

Collins, Dawn                                         481:11     Q Okay. Do you believe that she's [Sue Sjeklocha] committed to 481-82
Plaintiff                                               12 diversity?
                                                        13    A What do you mean by "committed"?
07/20/92 - 08/02/00                                     14    Q Do you believe that she feels that there is
                                                        15 value in having diversity in an organization?
                                                        16    A I don't know if she feels that way or not.
                                                        17    Q Did she ever say anything to you that indicated
                                                        18 that she was or she wasn't?
                                                        19    A She said that she was.
                                                        20    Q Do you have any reason to believe that that
                                                        21 wasn't the case?
                                                        22    A Yes.
                                                        23    Q And what is that?
                                                        24    A I -- I felt that as the manager of the
                                                        25 diversity and retention department, if that was -- if she

                                                                         13
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 33 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                 Source
                                                       482: 1 was committed to diversity, then her work would have
                                                          2 looked differently.
                                                          3     Q In terms of the time between diversity and
                                                          4 grain, that allocation?
                                                          5     A That, as well as her availability and support
                                                          6 for the initiatives that I was working on.

Collins, Dawn                                         488: 5    Q And what was Mr. Reed's comment about Miss                488-89
Plaintiff                                                6 Sjeklocha?
                                                         7    A He also cautioned me on working with a
07/20/92 - 08/02/00                                      8 diversity initiative within Cargill, and that I should be
                                                         9 cautious around -- while working with Sue as well.
                                                        ***
                                                        21     Q Did you ask him why he was cautioning you about
                                                        22 working with the diversity initiative?
                                                        23     A Because it had been tried on numerous occasions
                                                        24 previously, and those individuals who worked on the
                                                        25 project were no longer employed at Cargill.
                                                      489: 1    Q And who were those people?
                                                         2    A Individuals who worked with diversity.
                                                         3    Q Who is that?
                                                         4    A Evonne Blaine, Sandy Harris, Bev Franklin.
                                                         5 They were all African Americans that were involved with
                                                         6 diversity.
Dickson, Della          2000                          187:14 of reorganizing the department. And I believe by about         187-89
Plaintiff                                               15 September of 2000, I found out that I would be reporting
                                                        16 to Doug Montgomery.
07/21/80 - present                                      17    Q And for what period of time did you report to
                                                        18 him?
                                                        19    A Until December, the end of December of 2000.
                                                        ***
                                                      188:22     Q Did he engage in any conduct that you thought
                                                        23 was discriminatory towards African Americans?
                                                        24    A There was some stereotypical behavior that I
                                                        25 thought was misplaced.
                                                        ***
                                                      189: 4    Q And did he make any comments that you thought
                                                         5 were discriminatory towards African Americans?
                                                         6    A Yes, I think he did some things that I thought


                                                                         14
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 34 of 60
                                                 Summary Exhibit 3 (Amended)
                        SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                     FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame   Division / Location Evidence                                                                          Source
                                                             7 were inappropriate.
                                                             8    Q And what were the inappropriate comments?
                                                             9    A He would do things like say, "Whassup," like
                                                            10 he'd seen African Americans do in the commercials, and
                                                            11 kind of speak in black dialect from time to time.
                                                            12    Q Do you have any examples other than what you
                                                            13 just said?
                                                            14    A You know, what's -- you know, "What's goin'
                                                            15 on," you know, that kind of thing.
                                                            ***
                                                            21 "Whassup", and "What's happenin," you know, this black
                                                            22 ghetto dialect I thought was inappropriate.

Dixon, Audrey S.           1998      AFL                3. I left because I could not take it anymore. There were problems in the    Para. 3
Declarant - Potential                Charlotte, NC      office. I would see favoritism at Cargill, in the form of Caucasian managers
Class Member                                            favoring Caucasian employees. Also, management tended to blow up over
                                                        little things that happened. Those incidents usually involved Caucasian
01/19/95 - 06/04/97                                     managers and African American employees. A blow up occurred one day and
                                                        I decided I did not need to be treated that way, so I quit.

Dixon, Audrey S.          During   AFL                  7. . . . [My Caucasian office manager] had problems dealing with African      Para. 7
Declarant - Potential   Employment Charlotte, NC        American employees. I often felt as though other African American
Class Member                                            employees and I were being used as scapegoats for his mistakes.

01/19/95 - 06/04/97

Ford, Glenn               During   Administration       13. . . . My reviews were usually exceeds expectations. However, my            Para. 13
Declarant - Potential   Employment Minnetonka, MN       manager usually wrote something negative on my review like that I was on the 100
Class Member                       (Office Center)      phone a lot. I felt that management, especially Mr. Byrnes, wrote those things
                                                        just to prevent me from getting raises.
12/08/69 - 11/01/96




                                                                           15
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 35 of 60
                                                 Summary Exhibit 3 (Amended)
                        SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                     FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                                              Source
Gosby, Laverne H.       1994-1995 Excel                17. I had worked on two quality reports at Cargill, both making it to the top to Para. 17
Declarant - Potential              Ottumwa, IA         compete for the award. The second time Cargill did an audit, the Auditor (an 216-229
Class Member                                           older, heavyset Caucasian male) said that my quality report was not true, that
                                                       we did not make improvements and that I was basically lying. Also, the Cargill
11/23/87 - 04/20/96                                    auditor thought someone else had done the work. I believe that the
                                                       unwillingness to believe that I had written the report and that I had
                                                       accomplished quality improvements was largely race-based.


Harrison, Marcia        1998-1999    Excel               6. In my experience, Cargill was a difficult place for African Americans to     Para. 6
Declarant - Potential                Wichita, KS         advance. First, I only remember seeing analyst jobs posted. I do not recall     180-82, 201
Class Member                                             ever seeing any management jobs posted. Second, there were very few
                                                         African Americans, most of us were recent hires at the time, and there was
02/23/98 - 04/01/99                                      only one African American manager. Third, the mostly Caucasian male
                                                         managers seemed to be part of the “old boys club.” Part of the reason I feel
                                                         that way is because during the winter I went to visit the Cargill plant. During
                                                         lunch, one of the Caucasian managers from a different department, whose
                                                         name I do not remember because I did not see him that often, was making
                                                         racists jokes about “drunken Indians.” I felt that he wanted to say something
                                                         racist about African Americans, but didn’t because I was there. I could not
                                                         understand how Cargill could allow racist people to be in charge of others,
                                                         especially in manager positions with responsibility for reviewing employees
                                                         and promoting employees. Also, it seemed that Caucasian male managers
                                                         conveyed an attitude of Caucasians in charge and sticking together. Finally, I
                                                         spoke to a few African Americans from other departments, Latonya, a
                                                         receptionist whose last name I can’t remember, and Kahami Speight, who
                                                         mentioned to me that they repeatedly tried to get promoted, but never
                                                         succeeded.
                                                         ***
                                                          201: 7      Q. -- did you observe anything during
                                                             8 your employment at Cargill that made you think
                                                             9 that the white managers wanted to exclude African
                                                             10 Americans from their circle of friends?
                                                             11      A. Other than the fact that there was
                                                             12 only one manager -- African American manager, and
                                                             13 he wasn't with them.




                                                                             16
                        Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                            Page 36 of 60
                                                 Summary Exhibit 3 (Amended)
                        SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                     FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                                              Source
Harrison, Marcia          During   Excel               8. While at Cargill I always felt that African Americans had to work harder than Para. 8
Declarant - Potential   Employment Wichita, KS         their Caucasian co-workers. It seemed that in addition to Caucasian              109-10
Class Member                                           managers being less comfortable with African American employees, they
                                                       would also give us more work than our Caucasian peers. Working at Cargill
02/23/98 - 04/01/99                                    seemed easier for Caucasians—they had more privileges and were favored
                                                       by management. I felt that as an African American employee, I was less
                                                       valued than any Caucasian employee.
                                                       ***
                                                        109:13       A. There seemed to be too many
                                                           14 instances of me being either set up to fail or
                                                           15 having to work too hard to do things that I knew
                                                           16 other people were easily able to obtain.
                                                           17      Q. First, who set you up to fail?
                                                           18      A. Well, I'm talking about things like
                                                           19 being given an accounting job to do when I
                                                           20 knew -- when they knew I had no accounting
                                                           21 experience. And the whole meets expectation
                                                           22 thing made me feel as if I was being set up to
                                                           23
                                                           24 110
                                                           25
                                                        110: 1 fail.

Harrison, Marcia          During   Excel                 9. I also felt that as an African American, I was scrutinized differently than    Para. 9
Declarant - Potential   Employment Wichita, KS           Caucasians. For example, if the three of us African American employees            83
Class Member                                             would be talking together, management would make sure they stopped us
                                                         from visiting and would tell us to get back to work. On the other hand, no one
02/23/98 - 04/01/99                                      would say anything if a group of Caucasians was visiting. I felt like an outsider
                                                         at Cargill.

Hughey, Cheneta           During   Seed                   198:20     Q I guess what my question is, is whether there                      198-99
Plaintiff               Employment Minnetonka, MN           21 are white employees who were treated better than you that
                                                            22 were in circumstances similar to yours?. . .
07/08/96 - 12/19/97                                         ***
                                                            24    A I can only relate it to my area, and that's the
                                                            25 only real clear-cut example -- or the two examples would
                                                          199: 1 be in relation to being late, for one, and also
                                                             2 reporting. For instance, a situation between me and Mary
                                                             3 Kay Vetsch, we're pretty much on the same platform, where


                                                                             17
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 37 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                     Source
                                                          4 we reported to John Holbeck directly, but yet her views
                                                          5 on doing the same reporting were correct, but mine were
                                                          6 incorrect. And we had the same reports, and I created
                                                          7 her reports, so that's pretty blatant to say that one was
                                                          8 correct and one was incorrect when they were the same,
                                                          9 driven from the same information.

Lewis, Keith             1999      CCI                 205: 6       Then he [David Hamm] just went on to elaborate that I'm   205
Plaintiff                          Minnetonka, MN        7 not doing this, I'm not keeping him in the loop on
                                                         8 all changes that are going on. I said, Dave, you're
11/02/91 - 07/16/99                                      9 in the status meetings, you attend all the user
                                                         10 meetings, and we continued back and forth. And then
                                                         11 he went as far as to say, you know, Gerry and I, you
                                                         12 know, we're thinking about RIF'g you. It's not that
                                                         13 we're thinking about firing you or anything.
                                                         14        You know, here I am, this is the spring,
                                                         15 we're two months, two and a half months from
                                                         16 implementation, I find all this quite odd. And then
                                                         17 he goes on to elaborate, you don't fit in here. And
                                                         18 I point-blank asked him what do you mean by I don't
                                                         19 fit in here? And he in turn said, well, you're too
                                                         20 structured, you have an MBA.

Little, Vivian          During   CIS                   41:11 Q. Okay. And what made you think that you were                   41-42
Plaintiff             Employment Chicago, IL            12 not being supported because of your race?
                                                        13 A. There were instances where I was left out of
11/17/97 - 03/10/03                                     14 meetings, I was left out of conversations and
                                                        15 discussions having to do with accounts payable. There
                                                        16 were times when information was given to me after events
                                                        17 had taken place, and these things directly impacted how
                                                        18 I did my job. And I felt that they were because I was
                                                        19 being singled out because I was an African-American.
                                                        20 Q. And what is it, though, that made you think
                                                        21 that you were not included in these meetings because you
                                                        22 were African-American as opposed to some other reason?
                                                        23 A. Because also I was being harassed, I was being
                                                        24 publicly humiliated in meetings, I was being belittled
                                                        25 in front of co-workers, and I felt like my job was -- I
                                                       42: 1 was being undermined, in my -- in being able to do my
                                                         2 job, by management.


                                                                          18
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                             Page 38 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame    Division / Location Evidence                                                                             Source
Little, Vivian                     CIS                   66: 25 what it was that she [Sandip Lallie, Indian] said with respect to your   66-68
Plaintiff                          Chicago, IL           67: 1 being late.
                                                            2 A. I can't remember specifically, but it had to do
11/17/97 - 03/10/03                                         3 with people of color always being late for meetings. . .
                                                           ***
                                                         68: 6 Q. What did she say that was the race-based part
                                                            7 of this joke?
                                                            8 A. Well, I -- Maybe you would have to have been
                                                            9 there to -- to hear her tone of voice, to see her face,
                                                           10 to hear her laughing and to hear the way that she had
                                                           11 said it, it was race-based. I would not have been
                                                           12 offended if it -- if it were not race-based.
Little, Vivian        2001-2002    CIS                   70:22 A. This was during a client event that we -- that                         70-71
Plaintiff                          Chicago, IL             23 Cargill had. I believe it was in 2002 or 2001 -- 2001
                                                           24 or 2002. I had planned a customer event, . . .
11/17/97 - 03/10/03                                        ***
                                                         71: 1                                        . . . And
                                                            2 because I planned the customer event, I was there to
                                                            3 make sure that everything was working smoothly . . .
                                                           ***
                                                            6        I was sitting at a table with senior management
                                                            7 and two -- two or three customers.
                                                           ***
                                                           10 . . . -- one of the Cargill management people said,
                                                           11 "How about that Tiger Woods. He's a -- a great player."
                                                           12         And then another senior management person had
                                                           13 said, "Yeah, he is a great player." He said, "What
                                                           14 about our Viv. She's really a black pearl." And the
                                                           15 other person -- the other management person said, "Well,
                                                           16 you know, that's what they say about -- about them in
                                                           17 'The Bell Curve,'" referring to a book that was --
                                                           18 that's named "The Bell Curve."




                                                                            19
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                      Page 39 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame    Division / Location Evidence                                                               Source
Little, Vivian                     CIS                   84: 22 A. I don't have any names, but what I can say is           84-88
Plaintiff                          Chicago, IL             23 that I have seen him interact with other non-black
                                                           24 employees and there was always conversation, there was
11/17/97 - 03/10/03                                        25 greetings, but I was not extended the same -- the same
                                                         85: 1 type of treatment.
                                                           ***
                                                         86: 18 Q. Okay. Anything else Mr. Malo [Caucasian] did that you
                                                           19 thought was treating you differently than other people
                                                           20 based on your race?
                                                           21 A. Yes. He -- He did ask me to -- to sit in for
                                                           22 his administrative assistant because she would be moving
                                                           23 on to a different department. And I seriously thought
                                                           24 about it until I was told by another member of senior
                                                           25 management that the only reason he wanted me to work for
                                                         87: 1 him was because his assistant happened to be an
                                                            2 African-American woman and she was complaining about how
                                                            3 she was being treated, and that's why she was moving to
                                                            4 a different department. And he needed another
                                                            5 African-American person to be in that spot because they
                                                            6 did not want any problems with, I believe it was, the
                                                            7 EEOC and affirmative action.
                                                            ***
                                                         88: 1        And human resources really, really pushed me
                                                            2 very hard to take that position. As a matter of fact,
                                                            ***
                                                            7 and I felt very uncomfortable with that. I felt like I
                                                            8 was being used.

Little, Vivian          2002       CIS                 92: 1 A. James Davison did not acknowledge me when I                92
Plaintiff                          Chicago, IL           2 spoke to him.
                                                         3 Q. Is this a passing -- like "hello" in the
11/17/97 - 03/10/03                                      4 hallway; is that what you're talking about?
                                                         5 A. It could have been anywhere within the office.
                                                         ***
                                                         8 Q. But what I want to know is, are you saying that
                                                         9 you would stand there and talk to him and he wouldn't
                                                        10 answer you?
                                                        11 A. I was -- I'm saying that I would be this close
                                                        12 to him (gesturing), and I would say, "Hello, how are
                                                        13 you?" and he would look at me and not answer and walk


                                                                        20
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                      Page 40 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                 Source
                                                          14 away.
                                                          15 Q. How many times did that happen?
                                                          16 A. That happened several times.
                                                          17 Q. When?
                                                          18 A. I'd say during the year 2002. . .

Little, Vivian                     CIS               357:24 A. There was another incident that occurred.                  357
Plaintiff                          Chicago, IL         25 Mr. Wind was in his office, and there was another person
                                                     358: 1 in his office by the name of Kelly Brown. I was doing
11/17/97 - 03/10/03                                    2 some work, I went into his office to give the work to --
                                                       3 to Mr. Wind. And Kelly Brown said, "Hey, Viv, Pete told
                                                       4 me that he had a dream about you last night, and it was
                                                       5 one of those ebony, ivory and jade dreams." And I
                                                       6 looked at him --
                                                       7 Q. Looked at who?
                                                       8 A. I looked at Kelly Brown, and I really didn't
                                                       9 make a comment. And when he said that -- After he said
                                                       10 that and after I had looked at him, I saw Peter Wind
                                                       11 make a face at his desk at Kelly Brown, and then I
                                                       12 walked out of the office.
                                                       13        I didn't say anything to either one, but I was
                                                       14 a bit shocked because I thought that was very, very
                                                       15 inappropriate to say something like that to someone that
                                                       16 you worked with on a daily basis.




                                                                       21
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 41 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                   Source
Little, Vivian                                         71: 19        And when I heard that, I almost fell off my             71
Plaintiff                                                 20 seat. I mean, it took me a few minutes to compose
                                                          21 myself after hearing that. And I just sat there for a
11/17/97 - 03/10/03                                       22 few minutes and tried to compose myself, because I was
                                                          23 truly offended and shocked and surprised to hear that.
                                                          ***
                                                           2 A. Kyle Unterseher said, "Yeah, that's what they
                                                           3 say about them in the book 'The Bell Curve.'"
                                                           4 Q. What is it that they say about them?
                                                           5 A. That -- That African-American people are good
                                                           6 athletes, they're good at sports, and that there are a
                                                           7 few black pearls that are supposed to be the crème de la
                                                           8 crème of the race, that are, you know, smart or
                                                           9 whatever, you know, what have you, and that they're
                                                          10 special people, I suppose. But, you know,
                                                          11 intellectually, you know, the rest of them are -- are
                                                          12 not very smart. But you have your black pearls and you
                                                          13 have your. . . great sportsmen
                                                          14 and, you know, so ...
Mason-Robinson,         During   Salt                  87: 4 Q. Now, you're talking about stereotypical jokes based          87 - 90
Valerie               Employment Baltimore, MD           5    on race?
Plaintiff                                                6 A. On race, religion, ethnic background.
                                                         7 Q. Okay. Like what?
07/08/96 - 17/18/98                                      8 A. Like all black people can dance. That's not true.
                                                         9    I think slang. Just different stereotypes, like
                                                        10     all people are from the ghetto, uneducated.
                                                        11     Things --
                                                        12 Q. When would these happen?
                                                        13 A. Huh?
                                                        14 Q. When would these happen?
                                                        15 A. They might happen over lunch or after people get a
                                                        16     drink or different like employee appreciation, like
                                                        17     parties they would have, kind of like a picnic type
                                                        18     of setting with food and a tent, like a carnival
                                                        19     type of theme; and then we would take customers out
                                                        20     to Orioles games, Baltimore Orioles games, and some
                                                        21     people drank too much, so I think some things kind
                                                        22     of slipped out of people's mouths.
                                                        23 Q. Did you ever engage in any jokes with your
                                                        24     coworkers on stereotypical kinds of issues?

                                                                          22
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                     Page 42 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame  Division / Location Evidence                                                                Source
                                                         25 A. Actually, I'm usually quiet in those type of
                                                       88: 1     instances. I observe people more.
                                                          2 Q. Did you make Tom Devaney aware of any of these
                                                          3    jokes or incidents?
                                                          4 A. I don't think I made him aware of them, because he
                                                          5    may have been there at the time. I think that a
                                                          6    lot of times when these type of things are said, in
                                                          7    general in society people don't always perceive
                                                          8    them as being discriminatory, they perceive it as
                                                          9    being funny and offensive, and I believe the best
                                                         10     way that I can do to contradict any of those
                                                         11     stereotypes is just to represent myself well.
                                                         ***
                                                       89: 18 Q. So how often did this happen? Was it every now and
                                                         19     then?
                                                         20 A. I wouldn't say it was like every fifth minute of
                                                         21     the hour, but it would be in passing, in
                                                         22     watercooler conversations, coffee breaks, lunch.
                                                         23 Q. Every day?
                                                         24 A. Maybe.
                                                         25 Q. Okay. What I need to understand for purposes of
                                                       90: 1     what your claims are, you're claiming that on a
                                                          2    daily basis, people would be telling you jokes that
                                                          3    are stereotypical, based on stereotypical notions
                                                          4    of African American people?
                                                          5 A. I can't say it was every day.
                                                          6 Q. How often were you getting jokes?
                                                          7 A. I would say, I don't know, once every two weeks.
                                                          8    I'm just not sure.
Mason-Robinson,         During   Salt                  94:11 A. I would say Mike Venker said something to me that I      94 - 95
Valerie               Employment Baltimore, MD           12     perceived as negative.
Plaintiff                                                13 Q. What did he say?
                                                         14 A. I asked him about a territory manager opportunity,
07/08/96 - 17/18/98                                      15     and he told me, well, he said something of the
                                                         16     nature of we'll get to you when we get to you, or
                                                         17     you'll get it when I'm good and ready, something
                                                         18     like that.
                                                         19 Q. Now, did you take that to be a remark that he was
                                                         20     making because he was -- strike that. How is this
                                                         21     evidence of discrimination or bias against
                                                         22     African Americans?

                                                                        23
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                           Page 43 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame    Division / Location Evidence                                                                    Source
                                                           22     African Americans?
                                                           23 A. I'm not sure exactly. It was bias towards me.
                                                           24 Q. Towards you personally?
                                                           25 A. Yes.
                                                         95: 1 Q. As opposed to you, a black woman?
                                                           2 A. Well, you know, that's hard to separate, because
                                                           3     everything about me is a black woman.
                                                           9 A. So I can't necessarily separate it from being
                                                           10     Valerie, because I've never been anything else in
                                                           11     this world but an African American woman. I
                                                           12     perceived it to be offensive and negative, and I'm
                                                           13     not sure if he said that to anybody else who was
                                                           14     looking for an opportunity. I'm not sure if he
Mason-Robinson,                    Salt                  96: 1 A. Well, Mike Schmit had suggested that I go to a               96
Valerie                            Baltimore, MD           2     speech therapist, and I don't think he suggested
Plaintiff                                                  3     that for anybody else, and because I was doing a
                                                           4     lot of telephone work, I'm not sure if I sounded
07/08/96 - 17/18/98                                        5     too black over the phone or what, but I'm positive
                                                           6     that that wasn't offered to anybody else, so.
                                                           7 Q. So that's a sign that he was prejudiced against
                                                           8     African Americans, or was he trying to help you
                                                           9     become the best phone salesperson you could be?
                                                           10 A. That's possible, but why wouldn't you offer that to
                                                           11     other people as well?
                                                           12 Q. Do you know whether he did or not?
                                                           13 A. I'm very certain that he didn't.




                                                                           24
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 44 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame    Division / Location Evidence                                                                 Source
Mason-Robinson,                    Salt                 271:16 A. I wouldn't say that exactly, but at one time               271-72
Valerie                            Baltimore, MD           17 I had had my hair braided. I'm not sure if you're
Plaintiff                                                  18 familiar with that. But some black women wear
                                                           19 braids, and I wore braids for maybe a year while I
07/08/96 - 17/18/98                                        20 was at Cargill, and in retrospect I think some of the
                                                           21 things that were said to me when I had different
                                                           22 braided hair styles were discriminatory.
                                                           23 Q. What was said?
                                                           24 A. Can you wash your hair? How do you wash your
                                                           25 hair? How do they do that? Those are some of the
                                                        272: 1 things I can think of right now.
                                                           2 Q. Were those questions genuine curiosity?
                                                           3 A. You could say that to a certain extent but
                                                           4 you could also say it's stupid. I mean do white
                                                           5 people wash their hair? Do Asian people wash their
                                                           6 hair? I think most people wash their hair. It's
                                                           7 more of a hygiene issue than it is a curiosity issue.
                                                           8 Q. But they were asking these questions when you
                                                           9 had your hair in braids?
                                                           10 A. Correct.

McDowell, Anthony       2001       NAGOC /             244:14 A. I brought up the fact about some issues about               244-46
Plaintiff                          GRNOSNA               15 Mr. Gathman [Caucasian].
                                   Fayetteville, NC      16 Q. What were those issues that you raised?
11/12/97 - 04/02/03                                      17 A. Some remarks that he was making to me.
                                                         18 Q. And what was the nature of the remarks?
                                                         19 A. Name-calling.
                                                         20 Q. What sorts of names was he calling you?
                                                         21 A. He called me Whitey.
                                                         22 Q. Anything else?
                                                         23 A. Not that I can remember at this time.
                                                         24 Q. And are you recalling a specific occasion on
                                                         25 which Mr. Gathman used that name with reference to
                                                       245: 1 you?
                                                         2 A. Yes.
                                                         3 Q. Was it more than one occasion?
                                                         4 A. Yes.
                                                         5 Q. How many times? How many separate occasions?
                                                         6 A. It was, after he met me it was constant. He
                                                         7 gave me a nickname.


                                                                          25
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 45 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                        Source
                                                          ***
                                                       246:17 Q. What did either Mr. Crawford or Mr. House [Caucasian Mangers]
                                                          18 say when you advised them of this nickname that
                                                          19 Mr. Gathman had for you?
                                                          20 A. Mr. House said that he would talk to him
                                                          21 about it.
                                                          22 Q. And you raised this with Mr. House in that
                                                          23 November 2001 meeting?
                                                          24 A. Yes.

McDowell, Anthony     2000-2002    NAGOC /            250:16 Q. Was it your opinion at the time you prepared                     250-51
Plaintiff                          GRNOSNA              17 this e-mail that the issue of multiple grievances had
                                   Fayetteville, NC     18 something to do with your race?
11/12/97 - 04/02/03                                     19 A. Yes.
                                                        ***
                                                        22 A. As I discussed before, I said before, the
                                                        23 amount of grievances being filed wasn't being filed
                                                        24 on other crew leaders, and they were doing the same
                                                        25 thing I was doing. Why was I being targeted?
                                                      251: 1 Q. In this particular instance, did either Brian
                                                         2 or Richard talk to you directly about the grievance
                                                         3 that they had filed?
                                                         4 A. Yes.
                                                         5 Q. What did they say about it?
                                                         6 A. They made jokes. You know, "you done it
                                                         7 again," "we got you again" kind of stuff.
                                                         8 Q. Did either one of them say anything that led
                                                         9 you to believe that they were motivated to file a
                                                        10 grievance against you because of your race?
                                                        11 A. Brian.
                                                        12 Q. What did he say?
                                                        13 A. He was the one that said "we got you again."

McDowell, Anthony     2000-2002    NAGOC /            282:20 A. As I said before, I was asked to go the                          282
Plaintiff                          GRNOSNA              21 extra mile more than my peers. It seemed like every
                                   Fayetteville, NC     22 time -- everything that I did, why, it was more -- it
11/12/97 - 04/02/03                                     23 was more criticism.
                                                        24 Q. More criticism by whom?
                                                        25 A. Terry Crawford and Jody House.



                                                                         26
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                       Page 46 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                    Source
McDowell, Anthony        2002    NAGOC /             413: 6 Q. Is it your belief, Mr. McDowell, that                       413
Plaintiff                        GRNOSNA                7 Mr. Norris was your replacement?
                                 Fayetteville, NC       8 A. Yes.
11/12/97 - 04/02/03                                     9 Q. And is there something about the possibility
                                                        10 that Mr. Norris may have been your replacement that
                                                        11 you feel is discriminatory?
                                                        12 A. Yes.
                                                        13 Q. What's that?
                                                        14 A. He was brought back into the plant real
                                                        15 prematurely, and quickly he moved into a supervisory
                                                        16 position, after this employee -- Mind you, this
                                                        17 employee quit the company, he left the company.
                                                        18        He had some disciplinary problems before he
                                                        19 left, came back, and all of a sudden, he's the cream
                                                        20 of the crop just to move right into a crew leader
                                                        21 position.
                                                        22        And me being the only African-American,
                                                        23 that's the reason I saw he was moved -- brought back
                                                        24 there, to take my job position.

Mitchell, Michael                  WWPHOSPH /          221: 19 A. I believe that it's unfair to be scrutinized             221
Plaintiff                          PHOSPHPROD            20 and given task lists like this in the level of
                                   Tampa, FL             21 management that I was in. I did it because that's
10/12/99 - 08/14/01                                      22 what my boss was requesting, and if that's the best
                                                         23 way for him to convey to me what I needed to do, then
                                                         24 that's what I needed to do, but he did these lists
                                                         25 for nobody else in my department.

Mitchell, Michael                  WWPHOSPH /          249:14 Q. But do you believe that there was any white               249
Plaintiff                          PHOSPHPROD            15 employee that was treated better than you were
                                   Tampa, FL             16 because of their race?
10/12/99 - 08/14/01                                      17 A. I believe that there were other employees
                                                         18 that were treated better than me. My peer white
                                                         19 employees didn't get the same scrutiny that I got.




                                                                         27
                       Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                       Page 47 of 60
                                                Summary Exhibit 3 (Amended)
                       SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                    FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates     Time Frame Division / Location Evidence                                                                  Source
Ross, Tonya               1997    Corn Milling         83: 15 Q. Tell me about that. What was the first                     83-84
Plaintiff                         Dayton, OH             16 indication of discriminatory treatment by Mr. Hammonds?
                                                         17 A. When he was first hired as the customer service
12/10/91 - 06/16/01                                      18 manager, he had a directive to train with me because I
                                                         19 was the most experienced in the department and had the
                                                         20 capability to train. His directive was basically to
                                                         21 train with me. I was told that I should come up with a
                                                         22 training schedule for him and train him basically on how
                                                         23 to be a customer service manager.
                                                         24 Q. Sure.
                                                         25 A. And I did that. I felt that he had a problem
                                                       84: 1 accepting the training from me because he never would
                                                         2 keep our training dates, he would always find a way to
                                                         3 get out of it, never really sat down and allowed me to
                                                         4 train him the way that he should have been trained or the
                                                         5 directive that I was given to train him. So I felt that
                                                         6 either there was some inferiority or he had a problem
                                                         7 with a black female training him.


Ross, Tonya                         Corn Milling        296: 18 Q. Had you ever experienced retaliation for the             296-97
Plaintiff                           Dayton, OH            19 complaints that you made to Mr. Hoy?
                                                          20 A. I kind of feel that since my conversation with
12/10/91 - 06/16/01                                       21 him and Sassman about this situation with Marty Hammonds,
                                                          22 it seems that -- I didn't change that much the way that
                                                          23 they portrayed me to have changed, coming from the
                                                          24 excellent reviews that I had and then Mr. Hammonds come
                                                          25 in, I get my first bad review, and then after that it
                                                        297: 1 seems like they just nitpicked every little thing that I
                                                          2 did. So in that case, probably so.

Scott, Charles        Prior to August CFI               310: 4 Q. Do you have any complaints about                          310-11
Plaintiff                  1997       Minnetonka, MN      5 Mr. Dougherty before he placed you on a performance
                                                          6 improvement plan?
02/11/91 - 05/02/98                                       7 A. Yes.
                                                          8 Q. And what was that?
                                                          9 A. I felt there was some favoritism to certain
                                                          10 merchants.
                                                          11 Q. And who was that?
                                                          12 A. Mr. Kerkvliet and Mr. Keller.


                                                                          28
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 48 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame    Division / Location Evidence                                                                         Source
                                                           13 Q. And they were his peers, correct?
                                                           14 A. Yes.
                                                           15 Q. Did Mr. Dougherty do anything that you felt
                                                           16 was discriminatory towards you prior to August of '97
                                                           17 when he placed you on the PIP?
                                                           18 A. Yes.
                                                           19 Q. What was that?
                                                           20 A. One thing, I can remember a situation, at the
                                                           21 time I was responsible for producing, or I was the
                                                           22 key person on communication to the Brazilian mills on
                                                           23 specifications and orders and we had deadlines for
                                                           24 that, and there were many times Mr. Kerkvliet did not
                                                           25 produce his specs in a timely basis and there had
                                                         311: 1 been a few times where I asked him about it and then
                                                            2 there were e-mails actually sent saying I need
                                                            3 specifications to send to the mill. Mr. Kerkvliet's
                                                            4 response was I get them to you when I can.
                                                            5       And, you know, I discussed this with
                                                            6 Mr. Dougherty and it wasn't too much he did, from my
                                                            7 perspective, to initiate Mr. Kerkvliet to get these
                                                            8 specifications on a timely basis. But if I was late
                                                            9 on somebody submitting specifications or something of
                                                           10 a similar manner, you know, there was more
                                                           11 conversation and more discipline towards me. Seemed
                                                           12 like we were kind of being judged on two different
                                                           13 levels.
Scott, Charles          1995       CFI                   508: 4 A. I do not remember his name. I do know he was                      508-10
Plaintiff                          Minnetonka, MN           5 a HR manager in Corn Milling. A white male with,
                                                            6 from what I can recall, a tenure of over 15 to 20
02/11/91 - 05/02/98                                         7 years with Cargill. Long-term tenure. We had a
                                                            8 candidate [African American] from Florida A&M who I was not involved
                                                        in
                                                            9 the initial recruiting. This gentleman has a
                                                           10 master's degree and everything, all the comments and
                                                           11 all the written documentation on his interviewing was
                                                           12 very positive, but this gentleman said, he said,
                                                           13 well, quote-unquote, we've had problems with people
                                                           14 from this school in the past and I don't think we
                                                           15 should pursue this.
                                                           ***


                                                                          29
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                       Page 49 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                       Source
                                                          19 Q. Do you recall what year this was?
                                                          20 A. This was fall of 1995. Actually it was my, I
                                                          21 remember it was my first year, first experience doing
                                                          22 recruiting and involved in this round-table
                                                          23 discussion.
                                                          24 Q. And who else was participating in the
                                                          25 discussion?
                                                       509: 1 A. Ms. Karen Sachs was participating. . .
                                                          ***
                                                           5 Q. And did you ask the HR manager what he meant?
                                                           6 A. You know, I was so shocked that he said that.
                                                           7 I looked at Karen Sachs and said what? And just left
                                                           8 it at that.
                                                          ***
                                                          13 Q. Okay. And do you know if she followed up
                                                          14 with him after the meeting?
                                                          15 A. I don't know what happened.
                                                          16 Q. Did she say anything during the meeting?
                                                          17 A. Not during the meeting.

                                                        21 Q. Did you ever discuss it with Karen after the
                                                        22 meeting?
                                                        23 A. Yes, I did.
                                                        24 Q. And when was that?
                                                        25 A. The very next day. And I told her, I asked
                                                      510: 1 her, I said first of all, are these the type of
                                                        2 comments and decisions that are made on candidates?
                                                        3 I said that comment alone was so discriminatory it
                                                        4 was ridiculous. This guy made a judgment on the
                                                        5 skills of this candidate due to the fact of what
                                                        6 school he went to.

Scott, Charles          1996       CFI                511: 3 A. I have also had, heard comments where they                        511-12
Plaintiff                          Minnetonka, MN        4 thought they [African American candidates] had a good interview, had
                                                      great business
02/11/91 - 05/02/98                                      5 skills, but they're not quite sure how they're going
                                                         6 to perform in Blaine, Nebraska, or I don't think
                                                         7 their background, we're not going to be able to, we
                                                         8 won't be able to, they will not be able to survive,
                                                         9 quote-unquote, in North Dakota.


                                                                         30
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                           Page 50 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                             Source
                                                          ***
                                                       512: 14 Q. So when was the meeting where the candidate's
                                                          15 ability to survive in a certain geographic location
                                                          16 was discussed? When did that take place?
                                                          17 A. The spring of 1996.

Scott, Charles                     CFI               514:12 Q. And do you know if the candidate received an                          514-15
Plaintiff                          Minnetonka, MN      13 offer?
                                                       14 A. No, he did not.
02/11/91 - 05/02/98                                    ***
                                                     515: 13 A. Someone made the comment that they thought
                                                       14 this [African American] girl had, what was it, plenty of attitude. . .
                                                       15                                        . . . and
                                                       16 probably would be, I think he said combative maybe.
                                                       17 Or hard to handle.
                                                       18 Q. Who made the statement?
                                                       19 A. It was a merchant out of the Grain division.
                                                       20 Q. Who?
                                                       21 A. I don't remember his name.
                                                       22 Q. And what did you say?

                                                        23 A. I just shook my head. I didn't say anything.
                                                        24 Q. Did Mr. Hatcher say anything?
                                                        25 A. He rolled his eyes and just laughed.
Simmons, Clintonia                 Corn Milling      106: 1        . . . Vernon[McIntosh, African American]came out of his office, J. 106
Plaintiff                          Memphis, TN       K.
                                                        2 threw him his keys and told him to go and get the car and
06/01/88 - 07/06/98                                     3 bring it around, go get the car, cool it off and bring it
                                                        4 around. Now -- and the other managers that stood there
                                                        5 heard him say that as well as myself and they snickered
                                                        6 and just kind of crossed their eyes at each other. But
                                                        7 no one said anything to him. And that should not be
                                                        8 allowed in the workplace.




                                                                         31
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                           Page 51 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame    Division / Location Evidence                                                                           Source
Simmons, Clintonia                 Corn Milling          106:25 A. Linda McFadgon, [African American] she was the sales                106-07
Plaintiff                          Memphis, TN          secretary. A
                                                         107: 1 lot of her -- some of the duties I know she performed was
06/01/88 - 07/06/98                                         2 not part of her job description, like picking up his
                                                            3 laundry from the cleaners and sending things to his son
                                                            4 in college. She was required to do those things.
                                                           ***
                                                            9 A.                    . . . I never witnessed
                                                           10 him [J.K. Gingery Caucasian] treating the other representatives, white
                                                           11 representatives that way. It was the African Americans,
                                                           12 it was myself, it was Vernon, and then Linda McFadgon was
                                                           13 his secretary. And he didn't treat me that way because I
                                                           14 wouldn't allow him to and that's why we didn't get along.
                                                           15 And he made that clear to me too. He said You're going
                                                           16 to find out who your friends are.

Simmons, Clintonia                 Corn Milling         119: 5 A. . . .[J.K. Gingery's] behavior, his treatment of, you know, the      119
Plaintiff                          Memphis, TN             6 African American group, mainly that group in Memphis. It
                                                           7 was known how he treated them. And I had questions from,
06/01/88 - 07/06/98                                        8 normally again because it was the sales team and they
                                                           9 would tease me and say well, Clintonia, have you had to
                                                           10 drive his car yet, they would say something like that,
                                                           11 did you get his bags, you know, that kind. So it was
                                                           12 known, his behavior was known. And he did not do it to
                                                           13 the other white representatives.
Smith, Candy            During   CIS                   15. Also, as a receptionist, I got to see who comes in for interviews, who gets Para. 15
McKinnon              Employment Chicago, IL           promotions, etc. Most of them are Caucasian. I remember that management
Declarant                                              would not even meet with African Americans. For example, the mail clerk,
                                                       Riordan Harden (African American) had an African American friend that came
04/27/92 - 08/02/97                                    to the office twice in attempts to meet with management. Management would
                                                       never come out and talk to him.

Smith, Candy            During   CIS                   18. From the few African Americans that did work at Cargill, it was obvious   Para. 18
McKinnon              Employment Chicago, IL           that is was a tough environment for African Americans. I could see on their
Declarant                                              faces that they were upset or had been overworked. Yet, I did not see that or
                                                       hear that from the Caucasian workers.
04/27/92 - 08/02/97




                                                                           32
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                     Page 52 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                 Source
Tate, Tausha            During   Corn Milling         61: 1     A His actions led me to believe that there was no        61
Plaintiff             Employment Memphis, TN             2 way that he was ever going to consider moving me off
                                                         3 shift in the near future, meaning 12 to 24 months.
06/15/98 - 04/14/00                                      4    Q Okay. And what -- well, let's ask it this way:
                                                         5 What actions were those that led you to believe that?
                                                         6    A Just comments that he may have made. I can't
                                                         7 recall exactly what those comments were. But just his
                                                         8 general actions towards me.
                                                         9    Q Well, did you see him behaving differently to
                                                        10 other people?
                                                        11     A Yes.
                                                        12     Q Okay. Describe the differences.
                                                        13     A The difference is he spoke harsh to me when he
                                                        14 didn't speak harsh to my counterpart. He took time with
                                                        15 my counterpart; he didn't take time with me. He
                                                        16 humiliated and demeaned me in public; he didn't do that
                                                        17 to my counterpart. My counterpart was promoted three
                                                        18 months after being put on shift; I was on shift for over
                                                        19 a year.
Tate, Tausha            During   Corn Milling         65: 3     Q Okay. Let me ask you about Mr. Turner                  65-66
Plaintiff             Employment Memphis, TN             4 humiliating and demeaning you in public. How often did
                                                         5 that occur?
06/15/98 - 04/14/00                                      6    A Frequently.
                                                        ***
                                                      66: 5     Q Okay. Tell me about being humiliated or
                                                         6 demeaned at the dinner.
                                                         7    A I was sitting down at one end of the table with
                                                         8 Matt Turner, James Alfieri, and maybe some other
                                                         9 employees, who I can't remember. But he began to badger
                                                        10 me about role playing with him about how I would handle
                                                        11 disgruntled employees, and he made me role play
                                                        12 throughout dinner. And I asked him several times that if
                                                        13 we could stop because I wasn't comfortable, and he would
                                                        14 not. And he and the other managers sat on the other side
                                                        15 of the table basically laughing and taunting me as he
                                                        16 continued to humiliate me throughout the dinner.




                                                                        33
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                     Page 53 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                        Source
Tate, Tausha            During   Corn Milling         80: 2     Q Tell me about another incident in which                       80
Plaintiff             Employment Memphis, TN            3 Mr. Turner humiliated or demeaned you in public that you
                                                        4 can recall.
06/15/98 - 04/14/00                                     5      A While working on a project -- I think I was on
                                                        6 first shift at the time -- there was a production meeting
                                                        7 in the general area, and I was on my rounds. And when
                                                        8 you're on shift, the shift person doesn't attend the
                                                        9 production meeting. And he was meeting with maintenance
                                                        10 people, and I walked through, and out of character he
                                                        11 asked me to see my project and what had I been doing on
                                                        12 it. And he stopped his meeting to single me out and shed
                                                        13 light on me and to make me feel small in front of the
                                                        14 production staff.

Tate, Tausha            During   Corn Milling         118:21 Q                          . . . were there any                     118-19
Plaintiff             Employment Memphis, TN            22 other behaviors by Mr. Litle [Caucasian Manager] towards you that you
                                                        23 believe were discrimination against you?
06/15/98 - 04/14/00                                     24     A Yes.
                                                        25     Q Okay. What else?
                                                      119: 1    A Not giving me clear direction on my job
                                                        2 responsibilities after being asked several times. I was
                                                        3 being held accountable for things I didn't know I was
                                                        4 being held accountable for. And when questioned about
                                                        5 it, my initiative was questioned, and I was chastised for
                                                        6 asking for direction.




                                                                        34
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 54 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                     Source
Tate, Tausha            During   Corn Milling        126:20      Q Miss Tate [Caucasian Manager], I wanted to ask you about   126-27
Plaintiff             Employment Memphis, TN            21 actions taken by Mr. O'Hare that you believe were discriminatory
                                                        22 based on your race. Were there any?
06/15/98 - 04/14/00                                     23     A I believe so.
                                                        24     Q Okay. What were they?
                                                        25     A He spoke harshly to me all the time, yelled at
                                                     127: 1 me, screamed at me, use profane language with me,
                                                        2 demeaned me, belittled me, questioned my intelligence
                                                        3 constantly, inferred that I was stupid a lot. Even after
                                                        4 telling him that I was very limited in my process
                                                        5 knowledge and there were things that I didn't know, he
                                                        6 would not take the time to show me things. He didn't
                                                        7 have any patience with me. He assumed I knew things that
                                                        8 I didn't, and he reacted on his assumptions. That's all
                                                        9 I can recall at this time.

Tyler, Emily                       CIS                292:13 . . . I feel that I was really, you know, getting,               292
Plaintiff                          Chicago, IL          14 the ratings I had gotten, each of my PMPs I had
                                                        15 gotten at least some exceeds. I think my, was it
05/26/92 - 08/05/00                                     16 '97-98 that we went over, I had, my overall was an
                                                        17 exceeds. Maybe it was '98-'99.
                                                        18        Then I complained about discrimination, I
                                                        19 don't get any exceeds on my next evaluation, I'm all
                                                        20 meets, I don't have any exceeds at all, and I feel
                                                        21 that that was a result of my complaining about
                                                        22 discrimination, that they were getting back at me.




                                                                        35
                       Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                       Page 55 of 60
                                                Summary Exhibit 3 (Amended)
                       SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                    FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates     Time Frame   Division / Location Evidence                                                                      Source
Williams, Jacqueline                                     53: 6 Q. Did you ever raise this issue with Cargill                      53-54
Plaintiff                                                   7 human resources?
                                                            8 A. I had a conversation with a human resource
06/07/93 - 05/08/02                                         9 manager and we talked about me not being promoted.
                                                           10 Q. Who was that?
                                                           11 A. Frances Hereford.
                                                           ***
                                                         54: 2 Q. How many times did you have conversations
                                                            3 with Ms. Hereford about race discrimination in your
                                                            4 experience?
                                                           ***
                                                            9 A. I would say at least five.
                                                           10 Q. Was it as many as ten?
                                                           11 A. I don't think so.
                                                           12 Q. What was Ms. Hereford's response?
                                                           13 A. That she did not believe that Mareda [Kennedy, Caucasian] or
                                                           14 Stephen [Murray, Caucasian] were discriminating, that that is not
                                                           15 acceptable, and that she would talk to him, meaning
                                                           16 Stephen, about the issues that I raised specifically,
                                                           17 and/or Mareda.
                                                           18 Q. Anything else she told you in those
                                                           19 conversations?
                                                           20 A. Not that I remember.




                                                                          36
                       Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 56 of 60
                                                Summary Exhibit 3 (Amended)
                       SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                    FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates     Time Frame   Division / Location Evidence                                                                 Source
Williams, Jacqueline                                    152: 11 Q. Do you think that Phillipe's demeanor was --              152-53
Plaintiff                                                  12 well, describe Phillipe's demeanor for me?
                                                           13 A. To me he was very standoffish and abrupt and
06/07/93 - 05/08/02                                        14 didn't seem very concerned, was always in a hurry and
                                                           15 never seemed to have time for anything. Like even
                                                           16 during a performance review, it was a really rushed
                                                           17 event, like he didn't want to be bothered.
                                                           18 Q. Do you think he was treating you that way
                                                           19 because of your race?
                                                           20 A. Yes.
                                                           21 Q. And what do you base that off of?
                                                           22 A. No one else in my, none of my other peers
                                                           23 seemed to have that problem with him.
                                                           ***
                                                         53: 5 Q. Are you the only African-American that worked
                                                            6 under Phillipe?
                                                            7 A. Yes.

Williams, Jacqueline                                   154: 7 Q. And knowledge of workplace culture and                      154-55
Plaintiff                                                 8 climate, what is that a reference to?
                                                          9 A. His reaction and his demeanor and the way he
06/07/93 - 05/08/02                                      10 responded and treated me.
                                                         11 Q. What was Mr. Murray's [Caucasian Manager] demeanor like?
                                                         12 A. Disrespectful.
                                                         ***
                                                       155: 4 Q. Why do you say he was disrespectful?
                                                          5 A. In meetings with our group he questioned
                                                          6 everything that I -- well, I can't say everything,
                                                          7 but everything that I remember, that I would say. If
                                                          8 I asked a question he wanted to know why I was asking
                                                          9 it, and the tone in which he asked me why was like
                                                         10 you have no right to do so. If I made a statement
                                                         11 about a particular topic that we were talking about,
                                                         12 he said something in the opposite as to why it wasn't
                                                         13 a good idea or it wasn't worthy or we're not going to
                                                         14 do that.
                                                         15        When it was my job to purchase hardware, I
                                                         16 made a purchase of an LCD panel and he made me send
                                                         17 it back because he said that I did not ask him if I
                                                         18 could purchase it, it wasn't a piece of equipment


                                                                          37
                       Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                          Page 57 of 60
                                                Summary Exhibit 3 (Amended)
                       SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                    FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates     Time Frame    Division / Location Evidence                                                                    Source
                                                            19 that we use, when in fact part of my job was to
                                                            20 purchase hardware that I thought would be good use or
                                                            21 fit in our environment, certainly the new stuff that
                                                            22 might benefit I/T or someone else in Fertilizer. And
                                                            23 that particular item we were looking for, I was
                                                            24 looking at to possibly put into some of the control
                                                            25 rooms, and he made me send it back.
Williams, Jacqueline                                     160:23 Q. The next person on your list is Greg White [Caucasian        160-61
Plaintiff                                                Manager],
                                                            24 and he is listed as having knowledge of workplace
06/07/93 - 05/08/02                                         25 culture and climate as well. What is his knowledge?
                                                         161: 1 A. He said several times that he knew that
                                                            5 Cargill was a good old boy system and that it was
                                                            6 going to be a long time before he thought the company
                                                            7 would get out of that and that he had made reference
                                                            8 to that fact in some type of survey that he did on
                                                            9 line and that's all I can think of.
                                                            10 Q. How did he know that you felt like you were
                                                            11 being discriminated against?
                                                            12 A. I told him.
                                                            13 Q. What did you tell him?
                                                            14 A. I told him that I felt like Stephen [Murray, Caucasian] was
                                                            15 discriminating against me because I was the only
                                                            16 person like me in our group and that I was tired of
                                                            17 it.
                                                            18 Q. What was his response?
                                                            19 A. He kind of ran away.
                                                            20 Q. Don't remember anything that he said?
                                                            21 A. He said that, well, Jackie, if you feel -- I
                                                            22 think he said if you really feel like that then you
                                                            23 probably should talk to somebody else about it.
Willis, Cheryl                      Admin                80: 7         And in some cases, one very specific case I              80
Plaintiff                           Minnetonka, MN          8 recall where we were working to make sure that I was
                                                            9 being acknowledged for the work that I was doing with
06/02/86 - 05/01/01                                         10 Larry Knutson, and he said very specifically that I
                                                            11 needed to step back from the forefront and let Julie
                                                            12 appear to be running the project that I'm working on.
                                                            13 And he continued to make efforts to see that that
                                                            14 would happen. And so the conclusion that I came to
                                                            15 was that my problem wasn't so much in me selling

                                                                           38
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                          Page 58 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                   Source
                                                          16 myself, but dealing with the stereotypes that were
                                                          17 around me.



Wint, Steve             2003       Salt                102:19 Q. During the time that Mr. Anderson was your                   102, 104-06, 109
Plaintiff                          Tampa, FL             20 manager what did he say or do that you are now
                                                         21 alleging was somehow discriminatory?
04/17/00 - 02/26/04                                      22 A. The statements he made.
                                                         23 Q. What statements are those?
                                                         24 A. That any -- that he could get any monkey to
                                                         25 drive a Payloader.
                                                         ***
                                                       104:18 A. That was in the presence of four African
                                                         19 Americans.
                                                         20 Q. You were there?
                                                         21 A. Yes.
                                                         ***
                                                       105:17        . . . And, also, Dan Ramseyer was
                                                         18 there.
                                                         ***
                                                         22 A.         . . .at that time he was
                                                         23 production manager [Caucasian].
                                                         ***
                                                       106: 2 A. And that's when Mike said, in some facilities
                                                          3 they don't hire just employees; they hire
                                                          4 maintenance. And he could get any monkey to
                                                          5 drive a Payloader.
                                                         ***
                                                       109:19 Q. Did any Caucasians on first shift generally
                                                         20 drive the Payloader at that time?
                                                         21 A. No.
Wint, Steve             2003       Salt                321: 6 Q. Did you tell Mr. Giamber some of the things that             321-22
Plaintiff                          Tampa, FL              7 we talked about in the last couple of days?
                                                          8 A. Some of it.
04/17/00 - 02/26/04                                       9 Q. Did you feel like he took you seriously?
                                                         10 A. No.
                                                         11 Q. Why not?
                                                         12 A. Because his statement to me was it seems like
                                                         13 I'm trying to tell management what to do.
                                                         14 Q. He said that to you?

                                                                          39
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                         Page 59 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                     Source
                                                          ***
                                                          17 A. Well, I told him, "I'm not trying to tell the
                                                          18 management how to do their job, I'm just trying to tell
                                                          19 you that there's unfairness going on here."
                                                          20        And he replied by saying well, management need
                                                          21 to do what they supposed to or want to do. If this is
                                                          22 his facility, he do whatever he wants to do at his
                                                          23 facility.
                                                          24        And I can't remember if I answered him by
                                                          25 telling him, you know, the reason why I said this is
                                                       322: 1 because of the unfairness that was going on here, I'm not
                                                           2 trying to tell Mike Anderson how to do his job.

Wint, Steve             During   Salt                 325:22 Q. Do you believe that Cargill managers did treat                  325-27
Plaintiff             Employment Tampa, FL               23 you differently because you're African American?
                                                         24 A. I believe so, yes.
04/17/00 - 02/26/04                                      ***
                                                      326:25 Q. Do you believe that Cargill managers gave the
                                                      327: 1 hardest work to African Americans on purpose?
                                                         ***
                                                        : 5 A. The counselor asked me that before and I
                                                          6 mentioned yes about that. The attorney for Cargill asked
                                                          7 me that question earlier, might have been yesterday. And
                                                          8 I did answer that yes to that question. Or I may not
                                                          9 have explained to her regarding that particular
                                                         10 statement.
Wright, Sean                                           99:20      Q You indicate he [Kevin Kohler, Caucasian Manager] was not   99-100
Plaintiff                                             happy with the prospect
                                                         21 of Cornell Slade being his boss?
05/19/97 - 08/05/00                                      22      A Yes.
                                                         23      Q Did he tell you that?
                                                         24      A Yes.
                                                         25      Q And what did he tell you?
                                                      100: 1      A Actually, he said it in front of a group of us
                                                          2 when they were discussing realigning the managers, as far
                                                          3 as -- when I say group, I mean the Cargill origination
                                                          4 merchants. And he said something to the effect that he
                                                          5 was kind of -- I wouldn't say visibly shaken, but he was
                                                          6 kind of rattled. And somebody made the comment, "What's
                                                          7 wrong," and he said that he might be getting a new boss.

                                                                          40
                      Case 0:01-cv-02086-DWF-AJB Document 322-3     Filed 08/16/2004                        Page 60 of 60
                                               Summary Exhibit 3 (Amended)
                      SELECTED EVIDENCE OF OVERT RACISM AND DISPARATE TREATMENT
                                   FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame   Division / Location Evidence                                                                        Source
                                                          8 And I think somebody asked who was it, and he looked at
                                                          9 the other side of the room, and I think Miss Coulombe
                                                          10 asked, "who," and I think he muttered, "Slade." And we
                                                          11 made the comment, "Well, what's wrong with that? I think
                                                          12 that's a good thing." And he looked at me and just kind
                                                          13 of shivered his shoulders and walked away.

Wright, Sean                                          103:21      Q Anything else?                                                 103-04
Plaintiff                                               22     A I don't believe I was trained, incidents of
                                                        23 training with Mr. Kohler [Caucasian Manager]. I mean, it just wasn't as
05/19/97 - 08/05/00                                     24 frequently or as hands-on as I thought it should have
                                                        25 been teaching me the business. On one aspect, he would
                                                      104: 1 say that I needed more ownership of the business, and I
                                                         2 needed to be more proactive in taking ownership of the
                                                         3 business. And by the same token, there were efforts and
                                                         4 innovations that I made towards, you know, learning the
                                                         5 business and becoming more of the part of the business
                                                         6 and trying to take some ownership and wanting the
                                                         7 training to explain to me why certain things were done
                                                         8 the way they were done and how they should be done and
                                                         9 what I should be looking at, and I felt they fell on deaf
                                                        10 ears.
Wright, Sean                                          147: 22            . . . I came across an e-mail that I                      147-48
Plaintiff                                               23 thought was racially biased. [in a company laptop computer]
                                                        ***
05/19/97 - 08/05/00                                   148: 9      Q And what did the e-mail say?
                                                        10     A It was an e-mail, and it expressed derision
                                                        11 towards Duane Reed and the fact that they wanted to --
                                                        12 the gist of the conversation was they're going to
                                                        13 transfer him back to Minneapolis, and that was just the
                                                        14 way it is, and he would just have to like it. And
                                                        15 essentially kind of said that they wanted just to keep
                                                        16 him quiet until it was time for him to retire.
                                                        ***
                                                        22     A There were several e-mails, and it was kind of
                                                        23 like before the age of instant messaging, it was like a
                                                        24 text conversation between -- to the best of my
                                                        25 recollection, it was Don Voigt and Dave Schimke. And I




                                                                         41
